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                           Schedule 2.1(b) – Fixed Assets

 Group: 3M BUILDING EQUIPMENT
 1325            METTLER TOLEDO XRAY MACHINE                             11/30/19
 1328            LAUGHLIN CONVEYOR SYSTEMS                                1/31/20

 Group: AUTOS & TRUCKS
 574             1985 CHEVY TRUCK                                         8/15/91
 1057            99 CHEVROLET PICKUP                                      5/01/99
 1238            USED IH CARGO TRUCK                                      9/29/14
 1247            YARDDOG TRUCK                                           12/19/14
 1327            USED SHELL TRAILER                                       1/22/20

 Group: BUILDINGS
 1              ORIG BUILDING                                             3/01/77
 3              AIR COND UNIT                                             9/01/79
 4              NEW CONSTR                                                8/01/79
 5              NEW CONSTR                                               11/01/77
 6              MOBILE HOME IMPROVE                                       3/01/80
 7              BUILDING COOLER                                          10/01/77
 8              WIRING                                                   12/01/80
 9              BLDG IMPROVEMENTS                                        12/31/80
 10             PLUMBING                                                  3/01/81
 11             INSTALLATION                                              3/01/81
 13             NEW GRADING SYSTEM ROOM                                   9/01/83
 14             IMPROVEMENTS TO WORM ROOM                                 9/01/83
 15             IMPROVEMENTS TO RETAIL ST                                 5/01/83
 16             ADDITIONS TO PARKING AREA                                 5/01/83
 17             ROOSTING ROOM / SHOP                                      3/30/84
 18             NEW ROOF/BLDG EXTDOCK                                     3/30/84
 19             GRADING ROOM IMPROVE                                      3/30/84
 20             NEW PANELS/CEILINGWHSE                                    3/30/84
 21             LIGHTING MISCIMPROVEWH                                    3/30/84
 22             MISC                                                      3/30/84
 23             MOBILE HOME                                               3/01/85
 24             NEW PANELSWHSE                                            3/01/85
 25             NEW ROOMS [5] WHSE                                        6/01/85
 26             GLIDEROL DOORS [2]                                        2/01/85
 27             MOBILE HOMECARPET                                         1/01/86
 28             WIRING                                                    1/01/81
 29             NEW OFFICE SPACE                                          4/01/86
 30             RETAIL STORE AREA                                         4/01/86
 31             PROCESS BUILDING                                          4/01/86



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 32            DRYER ROOM                                                 4/01/86
 33            STORAGE & STAGING                                          4/01/86
 34            LAND IMPROVEMENTS                                          4/01/86
 35            PAVED PARKING                                              4/01/86
 36            METAL STORAGE BLDG                                         4/01/86
 37            RETAIL RESTROOM                                            6/01/87
 38            TRUCKSCALE & HOUSE                                         4/01/88
 39            NEW BREAKING ROOM                                          4/01/89
 40            CONCRETE APRONS                                            4/01/89
 41            FOAM INSULATION                                            9/15/91
 42            AIR COND UNIT                                             10/15/91
 43            INSHELL SIZER ADDITION                                     8/15/92
 44            NEW INSHELL SIZER BLDG                                    11/15/92
 45            PARKING LOT IMPROVEMENTS                                  11/15/92
 46            ROOFING IMPROVEMENTS                                       6/15/93
 47            WASTE WATER TREATMENT                                      9/15/93
 48            24' X 125' STORAGE BLDG                                    4/01/94
 49            TRUCK LOADING WELL                                         4/01/94
 50            GUARDRAILS & WALLS 123                                     4/01/94
 51            TRAILER STORAGE AREA                                       4/01/94
 52            CONFERENCE ROOM ADDTION                                    4/01/94
 53            GRAVEL PAVING                                              4/01/95
 54            INSHELL RESTROOM                                           4/01/95
 55            NEW STORAGE BUILDING                                       4/01/95
 56            NEW SHIPPING DOCK                                          1/01/96
 57            BAY 1 REPROCESSING ROOM                                    1/01/96
 58            NEW INSHELL RECEIVING DOC                                  9/01/96
 59            GRAVEL TRUCK PARKING                                       4/01/96
 60            INSHELL RECEIVING DOCK                                    11/01/96
 61            GRAVEL & PAVING                                            4/01/97
 62            CAPITALIZED INTEREST '85                                   7/01/85
 63            URETHANE ROOF                                             10/15/97
 64            REPROCESSING BUILDING                                      1/01/99
 65            PARKING LOT REPROCESSIN                                    1/01/99
 66            REPAIR TO WALLS                                            3/01/99
 67            GRAVEL & PAVING ROADS                                      4/01/00
 68            NEW SEWER LINE                                             4/01/00
 69            PORTABLE SHIPPING OFFICE                                   4/01/00
 70            MACHINE SHOP BUILDING                                      4/01/00
 71            WATKINS BLDG IMPR                                          4/01/01
 72            JOHNSON DRIVEWAYS                                          4/01/01
 73            ATLAS PORTABLE BLDG                                        4/01/01
 74            CONCRETE PAD INSHELL GATE                                  8/31/07



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 75             NEW PARKING LOT PAVEMENT                                  3/31/07
 1086           NEW ROOF - OLD PLANT                                      1/05/10
 1087           NEW ROOF - OFFICE                                         3/31/10
 1089           INSHELL BREAK ROOM ADDITION                               5/26/10
 1093           ROAD/PK LOT/PAVING                                        5/25/10
 1096           CONCRETE/ASPHALT/DRAINAGE                                 6/01/10
 1097           CONCRETE/ASPHALT/DRAINAGE                                 7/28/10
 1100           CONCRETE WORK                                             8/06/10
 1107           NEW ELECTRICAL - RANDY                                    6/01/10
 1117           HA PAIR - CONCRETE                                       11/30/10
 1118           RANDY/LOPEZ - ELEC/PAINT                                 11/18/10
 1134           LOPEZ CONSTRUCTION                                        4/30/11
 1135           H A PAIR ASPHALT                                          4/30/11
 1153           SHELVES, HALL, DOOR LOPEZ                                 1/25/11
 1155           PARKING LOT POLES                                         5/20/11
 1156           EMERGENCY LIGHTS, WIRE CAMERAS                            7/15/11
 1157           BAY 2 & 3 DRAIN LINES AREA WIDE                           4/14/11
 1163           NEW DOORS - FAIRWAY                                      12/15/11
 1184           REBUILD WALL BAY 2 & 3                                   10/29/12
 1188           ADD DOOR CLOSE DOORS ON ROASTING ROOM                    10/16/12
 1189           PARKING/CONCRETE INSHELL AREA                            10/26/12
 1208           LINER PANELS TO COVER INSULATION                          6/06/13
 1214           ADD FANS AND RESEAL BAY 2 & 3 WALL                       10/21/13
 1225           NEW CONDENSOR BAY 8                                       5/09/14
 1226           NEW A/C DEPT 3                                            5/08/14
 1257           ROOF REPAIR PARSONS                                       4/15/15
 1265           SEAL & RESTRIPE PARKING LOT                               8/13/15
 1271           BARRELL WASH ROOM ADDITION                               10/08/15
 1273           ASPHALT WORK INSHELL PARKING                             10/16/15
 1276           BARRELL WASH ROOM ADDITION                               12/14/15
 1277           BARRELL WASH ROOM FLOOR                                  12/14/15
 1307           NEW DOORS INSHELL                                        11/13/17
 1314           TRENCH DRAIN FOR ALCOHOL ROOM                             2/08/18
 1315           ADD FRP TO PLANT RESTROOM WALLS                           2/15/18
 1317           FABRICATE FLOOR DRAIN DESTONER ROOM                       6/03/18
 1318           NEW DRAINS IN BARRELL WASH ROOM                           7/02/18

 Group: COLD STORAGE WAREHOUSE
 1054           REFRIGERATED STG STRUCT                                   3/01/82
 1055           COOLER BUILDING                                           4/01/86

 Group: NEW PLANT MACHINERY
 645            1 PC PACKING HOPPER                                       4/01/86



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 646           2 COOLING BINS W/ FEEDERS                                 4/01/86
 649           SET 6 INSP TBL BIN&SUP FW                                 4/01/86
 650           DUAL BIN FOR FEED SAN BAS                                 4/01/86
 651           10THREE STEP INSP TABLES                                  4/01/86
 652           10ADD INSP TABLE MAGNET                                   4/01/86
 653           4LEG LENGTH&DECKS CHANGE                                  4/01/86
 654           4GA INSP TABLE HOPPER EXT                                 4/01/86
 655           1HYDRAULIC TOTE BIN DUMP                                  4/01/86
 657           CONVEYOR W/THREE AIRGATES                                 4/01/86
 658           22 SCREEN FINAL 1/2 SIZE                                  4/01/86
 659           2SIZERSCREEN                                              4/01/86
 660           2CYCLONE HEAD FINAL BLOW                                  4/01/86
 661           FINAL 1/2 SIZEBLOW STAND                                  4/01/86
 662           CENTRIFUGAL STIKTITE BRK                                  4/01/86
 663           SET HALF PACKING HOPPERS                                  4/01/86
 664           COMPAK NUT ROASTER                                        4/01/86
 665           FENCE1985                                                 4/01/86
 666           SIMPLEX CONVEY ELEVATOR                                   4/01/86
 667           2SIMPLEX CONVEYING ELEVA                                  4/01/86
 668           2SIMPLEX CONVEYING ELEVA                                  4/01/86
 669           2SIMPLEX CONVEYING ELEVA                                  4/01/86
 670           2SIMPLEX CONVEYING ELEVA                                  4/01/86
 671           2SIMPLEX CONVEYING ELEVA                                  4/01/86
 672           PULLEYS RABBIT EAR CONVEY                                 4/01/86
 673           VERTSECTION FOR CONVEYOR                                  4/01/86
 674           SIZER SCREEN                                              4/01/86
 675           8 RALPHSPUGH                                              4/01/86
 676           DUST COLLECTORS                                           4/01/86
 677           CAST IRON HOUSING                                         4/01/86
 678           #201 DUST COLLECTOR                                       4/01/86
 679           FREIGHT ON DUST COLLECTOR                                 4/01/86
 680           418IN SHELLER                                             4/01/86
 681           2TWO SCREEN SIZER                                         4/01/86
 682           2CONTINOUS BUCKET ELEVATOR                                4/01/86
 683           2SHELLER NO SUCTION FAN                                   4/01/86
 684           CONTINOUS BUCKET ELEVATOR                                 4/01/86
 685           CONTINOUS BUCKET ELEVATOR                                 4/01/86
 686           INLINE SIZER MODEL                                        4/01/86
 688           CONTINOUS BUCKET ELEVATOR                                 4/01/86
 689           2CONTINOUS BUCKET ELEVAT                                  4/01/86
 690           2CONTINOUS BUCKET ELEVAT                                  4/01/86
 691           CONTINOUS BUCKET ELEVATOR                                 4/01/86
 692           2SANITIZER BLOWER PIPE                                    4/01/86



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 693           MEYER EQUIPMENTFREIGHT                                    4/01/86
 695           DRYERPROCTOR SCHWARTZ                                     4/01/86
 696           4TWO SCREEN SIZERS                                        4/01/86
 697           4ADDITIONAL 9/16IN SCREEN                                 4/01/86
 698           1 MEZZANINE                                               4/01/86
 699           DUAL LANE CONVEYOR                                        4/01/86
 700           FIVE SCREEN INLINE SIZER                                  4/01/86
 701           5EIGHT INCH BLOWERS                                       4/01/86
 702           BLOWER SUPPORT STAND                                      4/01/86
 703           DUALLANE CONVEYOR                                         4/01/86
 704           B INDICATORS & BLOW PIPES                                 4/01/86
 705           WASHER DESTONER                                           4/01/86
 706           4NINE INCH BLOWER                                         4/01/86
 707           2DOUBLE HALF BLOW STAND                                   4/01/86
 708           CONTINOUS EXTRACTOR                                       4/01/86
 709           TEN INCH ELEVATOR                                         4/01/86
 710           BARREL LIFT DUMP                                          4/01/86
 711           BARREL LIFT DUMP                                          4/01/86
 712           2FEEDER HOPPER                                            4/01/86
 714           FREIGHT                                                   4/01/86
 715           PROC&SCHW HALF DRYER HOPP                                 4/01/86
 716           AUGER FLOP GATE CHUTE                                     4/01/86
 717           11PAIR CONVEYELEVLEGS                                     4/01/86
 718           CATWALK & LADDER ASSEMBLY                                 4/01/86
 719           2BLOWSHELL DISCHRG CHUT                                   4/01/86
 720           CATWALK&LADDERINSH BINS                                   4/01/86
 721           818 GA CHUTES(2)ELEV                                      4/01/86
 722           LINER FOR HALF DRYHOPPER                                  4/01/86
 723           216GA PROD INPUT HOPPERS                                  4/01/86
 724           REMOVE SECTION OF ELEVAT                                  4/01/86
 725           STAINLESS STEEL AUGER                                     4/01/86
 726           STAINSTEEL SHELL AUGER                                    4/01/86
 727           STAND W/LADDER                                            4/01/86
 728           ELEVATED FLOAT FEEDHOPP                                   4/01/86
 729           2SPIRAL LET DOWN CHUTES                                   4/01/86
 730           2SPIRAL LET DOWN CHUTES                                   4/01/86
 731           2SPIRAL LET DOWN CHUTES                                   4/01/86
 732           PIECE DRYER SPREADER                                      4/01/86
 733           4CRACKFEEDER END RISERS                                   4/01/86
 734           CATWALK W/O HANDRAIL                                      4/01/86
 735           40SMITH CABLE CLAMP                                       4/01/86
 736           2SHEAVES&TAPER LOCK BUSH                                  4/01/86
 737           FABRICATE 22 CHUTES                                       4/01/86



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 738           ELEVATOR INPUT TRANSITION                                 4/01/86
 739           ELEVATOR DISCHARGE CHUTE                                  4/01/86
 740           DUAL HOPPER EXTENSION                                     4/01/86
 741           6ELEVATOR TABLES                                          4/01/86
 742           EXTENSIONS ON 2 ELEVATORS                                 4/01/86
 744           2REJECT CON&CHUTE SYSTE                                   4/01/86
 745           8RIGID PLATE CASTER                                       4/01/86
 746           MAUREY SL SHEAVE                                          4/01/86
 747           SHEAVE                                                    4/01/86
 748           TAPER LOCK BUSHING                                        4/01/86
 749           SANITIZER VENT HOOD                                       4/01/86
 750           STARITE WATER PUMP                                        4/01/86
 751           PUMP TRAP W/STRAINER BSKT                                 4/01/86
 752           39ROLLER CONVEY ROLLERS                                   4/01/86
 753           VIBRATORY CONVEYOR                                        4/01/86
 754           CHUTE ASSEMBLY W/CONVEYOR                                 4/01/86
 755           ELEVTO POP REMOVER CHUTE                                  4/01/86
 756           OUTSIDE SCREW AUGER                                       4/01/86
 758           2PACKING SCALE STANDS                                     4/01/86
 759           2RUBBER STAMP TABLES                                      4/01/86
 760           4SHELLER OVERRIDE CHUTES                                  4/01/86
 761           2CHUTE ASSEMPCS OFF SZR                                   4/01/86
 762           2ELEVDISCHGE TO SZR CHU                                   4/01/86
 763           CATWALK W/HANDRAIL                                        4/01/86
 764           2LONG SPIRAL EASY LETDWN                                  4/01/86
 765           2PACK TABLES FOR BOXES                                    4/01/86
 766           4WRITING TABLES                                           4/01/86
 767           CATWALK W/LADDER                                          4/01/86
 768           1 LOT 11 CONVEELEVCOVRS                                   4/01/86
 769           SINGLE SYNTRON CONTROLLER                                 4/01/86
 770           9INBLOWER INPUT TRANSITION                                4/01/86
 771           9IN BLOWER SHELL                                          4/01/86
 772           7DEEP STEEL DUST PANS                                     4/01/86
 773           6CHLORINE WASH SHELFS                                     4/01/86
 774           HOPPREDUCERSTRIMDIVRTR                                    4/01/86
 775           LOWER LEVEL CATWALK ASSEM                                 4/01/86
 776           2SPIRAL LETDOWN CHUTES                                    4/01/86
 777           ELEVPRODINPUT HOPASSEM                                    4/01/86
 778           STSTEEL RAKE W/48INHANDLE                                 4/01/86
 779           PAN W/HANDLE AT EACH END                                  4/01/86
 780           SZR SCREEN RAKE72INT HAND                                 4/01/86
 781           9STAINLESS STEEL BOXES                                    4/01/86
 782           10 GALV BOXES W/O TOP                                     4/01/86



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 783           18GA SHAFT COUPLING GUARD                                 4/01/86
 784           TWO LANE CONVEYHGHT EXT                                   4/01/86
 785           CASTER MOUNTED DUST PAN                                   4/01/86
 786           18 GA STEEL INPUT HOPPER                                  4/01/86
 787           218 GA DUST HOODS                                         4/01/86
 788           FREIGHT                                                   4/01/86
 789           2STAINSTEEL WIRE CLOTHS                                   4/01/86
 790           2THREE STEP INSP TABLES                                   4/01/86
 791           2MAGNET ASSEMBLY                                          4/01/86
 792           2INSPTABLE HOPPER EXT                                     4/01/86
 793           DESTONER PADDLE WHEEL                                     4/01/86
 794           STSTEEL ELEVCHUTE HOOD                                    4/01/86
 795           HOT WATER SANITIZER EXT                                   4/01/86
 796           HALF DRYER RAKE INTINHANDLE                               4/01/86
 797           3STAINSTEEL DUST PANS                                     4/01/86
 798           FIVE SCREEN SACK SIZER                                    4/01/86
 799           20 CUBIC FTELEVATED HOP                                   4/01/86
 801           2AIR & 2OIL FILTERS                                       4/01/86
 802           CHUTES FOR SHELLERSEPAR                                   4/01/86
 803           SALES TAX ON 1085 EQUIP                                   4/01/86
 804           FRGHT ON MACHINERY 12/85                                  4/01/86
 805           FREIGHT                                                   4/01/86
 806           BUCKET ELEVATOR                                           4/01/86
 807           PARTS OF MACHINERY                                        4/01/86
 808           REEVES MOTOR BASE                                         4/01/86
 809           PARTS FOR MACHINERY                                       4/01/86
 810           PARTS FOR MACHINERY                                       4/01/86
 812           FREIGHT                                                   4/01/86
 813           MOD CHUTE                                                 4/01/86
 814           3 CHUTES MOD                                              4/01/86
 815           FAB DUST COLLECTING SYST                                  4/01/86
 816           FREIGHTPACKAGE CONVEYOR                                   4/01/86
 817           FIVE SCREEN STACKABLE SZR                                 4/01/86
 818           2PERMANENT MAGNETS                                        4/01/86
 819           WORKBENCH W/22193 VISE                                    4/01/86
 820           5STAINLESS STEEL BOXES                                    4/01/86
 821           2STSTEEL SIZER INTIN RAKE                                 4/01/86
 822           POP REMOVER CONVEY/HOPP                                   4/01/86
 823           WALL MOUNT SCALE SHELF                                    4/01/86
 824           SANITIZER VENT PIPE                                       4/01/86
 825           FREIGHTLOCKERS                                            4/01/86
 826           FREIGHTJB SANFILIPPO                                      4/01/86
 827           FREIGHTJB SANFILIPPO                                      4/01/86



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 828           SWECO INCFREIGHT                                          4/01/86
 829           THINNER & PAINT FOR CONST                                 4/01/86
 830           CHOP SAW BLADER                                           4/01/86
 831           PARTS FOR INSHELL ELEVA                                   4/01/86
 832           COUPLING                                                  4/01/86
 833           REGULATORFITTHOSETAPE                                     4/01/86
 834           SCREWSHOLGUN DRILLDRILL                                   4/01/86
 835           SCREWS & NUTS                                             4/01/86
 836           BOLTSHEXNUTSVALVEWASHR                                    4/01/86
 837           SILVERLINE BENCH                                          4/01/86
 838           HEAVY CAP PLATFORM SCALE                                  4/01/86
 839           FLEXURE BASE5000#                                         4/01/86
 840           PLATFORM SCALE2000#                                       4/01/86
 841           FREIGHT                                                   4/01/86
 842           SALES TAX                                                 4/01/86
 844           STOOLS FOR PICKING TABLES                                 4/01/86
 845           WET HOLDING TANK & ACCESS                                 4/01/86
 846           55 YARDS CONCRETE                                         4/01/86
 847           AUGER FOR NEW SHELL BIN                                   4/01/86
 848           2MATIC ADJUSCASE SEALER                                   4/01/86
 849           RECTANGULAR FITTING                                       4/01/86
 850           8inx6inx64in OPEN TOP CHUTE                               4/01/86
 851           4BELT GUARDS W/BRACKETS                                   4/01/86
 852           HOPPER W/FLAT BAR FLANGE                                  4/01/86
 853           METAL FLEXIBLE PIPE                                       4/01/86
 854           FABRICA&INSTALLOF EQUIP                                   4/01/86
 855           EXHAUST DUCT OFF AIR COMP                                 4/01/86
 856           WALL CREW TUBING                                          4/01/86
 857           OPEN TOP CHUTESHELL ELEV                                  4/01/86
 858           8337 DRUM DOLLIE                                          4/01/86
 859           ROLLER CONVEYOR                                           4/01/86
 860           BLUEPRINTS&DRAW6CONVEY                                    4/01/86
 861           TABLES&CHAIRS FOR LUNCHRM                                 4/01/86
 862           2DOUBLE TIER LOCKERS                                      4/01/86
 863           FREIGHT ON NEW MACHINERY                                  4/01/86
 864           FREIGHT ON EQUIPMEYER                                     4/01/86
 865           FREIGHT ON EQUIPMENT                                      4/01/86
 866           FREIGHT ON EQUIPMENT                                      4/01/86
 867           INSTALLATION CHARGES                                      4/01/86
 868           2MODIFY STSTEEL CHUTES                                    4/01/86
 869           BALL VALUESBELL REDUCER                                   4/01/86
 870           DRESSER SLEEVESWELD ELLS                                  4/01/86
 871           9VOLT BATTPULLEYSSNAPS                                    4/01/86



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 872           TAXES ON EQUIPFROM MEYER                                   4/01/86
 873           MOISTURE METER                                             4/01/86
 874           REWORK DIVIDER DRYOVEN                                     4/01/86
 875           FREIGHT ON EQUIPMEYER                                      4/01/86
 876           FREIGHT ON EQUIPMEYER                                      4/01/86
 877           FREIGHT ON EQUIPMEYER                                      4/01/86
 878           HEATING/AIR CONDITIONING                                   4/01/86
 879           SPECIAL ELECTRICAL                                         4/01/86
 880           GRATE                                                      4/01/86
 881           MONORAIL                                                   4/01/86
 882           PAINT                                                      4/01/86
 884           BARREL LIFT DUMP                                           6/01/85
 885           INLINE SIZERMEYER                                          4/01/85
 888           23STEP INSPTABLES                                          8/01/85
 889           SSTEEL ALCOHOL TANK                                        4/01/85
 891           WASTE TREATMENT FACILITY                                   4/01/86
 892           WHSE UNIT HEATERS (10)                                     4/01/86
 893           PROCESS SEWER                                              4/01/86
 894           LABOREQUIP INSTALL                                         4/01/86
 895           SPECIAL ELECTEQUIP                                         4/01/86
 896           EQUIPMENT                                                  4/01/86
 898           30IN INSPECT TABLES (2)                                   11/01/85
 900           FILING CABINET                                            11/01/86
 903           72IN SIGHT PANELS (2)                                      1/06/87
 904           NATURAL GAS HEATER                                        12/31/86
 905           FILE CABINET                                               1/23/87
 908           MACHINE PARTS                                              3/15/87
 909           INSTALL PHONE & JACK                                      11/18/86
 910           FILE CABINET                                              12/08/86
 911           DESK CHAIRS                                               12/08/86
 913           FILE CABINET                                              12/08/86
 918           JOHNSON LADDER                                             4/01/89
 919           VACUMN SEAL & FLT MACH                                     4/01/89
 921           CANOPIES FOR BLDG                                          4/01/89
 923           COMPRESSOR                                                 4/01/89
 929           TENOX MIXING DEVICE                                        3/26/90
 931           BARREL LIFT DUMP                                           9/13/90
 932           ROTARY AIR LOCK                                            9/13/90
 933           DRYER AND CONVEYOR                                        10/15/89
 935           SALES TAX BBL LIFT DUMP                                   10/15/90
 936           BARREL LIFT DUMP                                           5/15/91
 938           METAL DETECTORS                                           11/15/91
 939           TAPE MACHINES (2)                                          1/15/92



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 940           DRYER NEW PLANT                                           4/15/92
 942           STAINLESS STEEL BARRELS                                   8/15/93
 943           STEEL HOPPER                                              4/01/94
 946           AJAX SHAKER # 0976                                        4/01/94
 947           RARE EARTH MAGNET SYSTEM                                  4/01/94
 949           4 16' STEEL CHUTES                                        4/01/94
 950           AJAX SHAKER # 8822                                        4/01/94
 952           2 SIMPLEX CONVEY ELEVATOR                                 4/01/94
 954           PARKING LOT LIGHTS                                        4/01/94
 955           2 HALFBIN COOLING SYSTEM                                  4/01/94
 956           STEEL HEAT EXCHNG & BLOWE                                 4/01/94
 957           2 CONVEYOR CHUTES                                         4/01/94
 958           SWECO PUMP SYSTEM                                         4/01/94
 959           CHAIN LIFT BARRELL DUMP                                   4/01/94
 960           AJAX SHAKER # 8284                                        4/01/94
 961           CONVERT 2 QUANTZ FRAMES                                   4/01/94
 962           STEEL HOPPER & STAND                                      4/01/94
 964           AJAX SHAKER # 8938                                        4/01/94
 966           STORAGE SHELVING                                          4/01/95
 967           HANDWASHER INSHELL RESTRO                                 4/01/95
 969           TRASH COMPACTOR                                           4/01/95
 970           FREIGHT ON SNA EQUIP                                      4/01/95
 971           ELEVATED FEEDER/HOPPER                                    4/01/95
 972           2 INSPECTION TABLES                                       4/01/95
 974           PLANT EQUIPMENT SNA                                       4/01/95
 977           SPRINKLER SYSTEM                                          4/01/97
 978           ELEVATORS & STANDS                                        4/01/97
 979           TILE & LABOR ROASTING RM                                  4/01/97
 980           RF BAR CODING EQUIPMENT                                   4/01/97
 981           NUT DICER                                                 4/01/97
 982           AIR CONDITION COMPRESSOR                                  4/01/97
 983           SEPARATOR UNIT                                            4/01/97
 985           COATING TUMBLER                                           4/01/97
 986           STAINLESS STEEL BARRELS                                   4/01/97
 988           MOISTURE TESTER                                           4/01/97
 989           LABORATORY EQUIPMENT                                      4/01/97
 990           SIZER SHELLER TABLES ET                                   4/01/97
 991           MAGNETS                                                   4/01/97
 992           MISC EQUPT FROM R&M AJE                                   4/01/97
 994           CAPITALIZED INTEREST '85                                  7/01/85
 997           BINS & STANDS                                             4/15/98
 999           3 HOPPERS                                                 3/15/98
 1000          EQUIPMENT DOZIER                                          3/01/99



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 1002          STANDS & EQUIPMENT                                        3/01/99
 1003          MISC SHIPPING EQPT                                        3/01/99
 1007          NEW FREEZER PANELS                                        3/01/99
 1008          FENCE FANS ETC                                            3/01/99
 1009          HOPPERS BINS ETC                                          3/01/99
 1010          EQPT & FIXTURES REPROCESS                                 1/01/99
 1011          MISC EQUIPMENT                                            3/01/99
 1012          OVERHEAD DOOR                                             4/01/00
 1013          NEW SCALES                                                4/01/00
 1014          LADDER PLATFORM                                           4/01/00
 1015          SPRINKLER SYSTEM                                          4/01/00
 1016          DRYER                                                     4/01/00
 1017          STAIRS & HANDRAILS                                        4/01/00
 1018          WIRE MACHINE SHOP                                         4/01/00
 1019          REBUILD SV 45                                             4/01/00
 1020          FAB STAINLESS GUARDS                                      4/01/00
 1021          WIRE NEW MACHINERY                                        4/01/00
 1022          INSTALL LIGHTS                                            4/01/00
 1023          FABRICATE GUARD                                           4/01/00
 1024          MODEL 24 CYCLONE                                          4/01/00
 1025          FABRICATE STEEL BOX                                       4/01/00
 1026          2 BOHN EVAPORATORS                                        4/01/00
 1027          NEW CEILING PANELS FREEZE                                 4/01/00
 1028          REBUILD FORKLIFT MOTOR                                    4/01/00
 1029          FORKLIFT EQUIPMENT                                        4/01/00
 1030          METAL DETECTOR                                            4/01/00
 1031          MACHINE SHOP EQUIPMENT                                    4/01/00
 1032          2 SATAKE BELT SORTERS                                     4/01/00
 1034          MISC EQUIPMENT ITEMS                                      4/01/00
 1036          HOBBS FABRICATE CHUTES                                    4/01/01
 1037          HOBBS STAINLESS ST ELEVAT                                 4/01/01
 1038          AIRLOCK EQUIPMENT                                         4/01/01
 1039          RANDY WIRING & NEW LIGHTS                                 4/01/01
 1040          HOBBS NEW EQUIPMENT                                       4/01/01
 1041          RANDY WIRING & NEW LIGHTS                                 4/01/01
 1042          NEW AC UNITS FOR OFFFICE                                  4/01/01
 1043          RANDY WIRING NEW EQUPT                                    4/01/01
 1044          HOBBS FABR NEW EQUPT                                      4/01/01
 1045          ACCUCORP SCALE                                            4/01/01
 1046          PALLET LIFT TRUCK                                         4/01/01
 1049          MISC EQUIPMENT                                            4/01/01
 1050          VACUUM PACKAGING MACHINE                                  4/01/06
 1051          SHIPPING DEPT PRINTER                                     4/01/06



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 1052          RUSCO PACKAGING MACHINE                                    3/31/07
 1066          WIFI ACCESS POINTS IN PLANT                               12/29/08
 1068          WIFI IN PLANT/MOTOROLA BARCODE                             2/25/09
 1070          MOTOROLA BAR CODE READER                                   3/25/09
 1082          NEW CONDENSOR FOR BAY 5                                    9/14/09
 1110          NEW COMPRESSOR BAY 5                                      10/15/10
 1115          UPGRADES TO OLD SATAKES                                   10/31/10
 1125          2 NEW METAL DETECTORS                                      3/31/11
 1126          KAISER - AIR SUPPLY PIPE                                   1/31/11
 1128          ROYAL FLUSH NEW SINKS                                      1/31/11
 1136          VIDEO JET LABEL PRINTERS                                   4/11/11
 1139          MOTOROLA COMPUTERS QUEST                                   6/15/11
 1144          AIR COND UNIT AREA WIDE                                    8/15/11
 1145          USED EQPT - SOUTHERN NUT/PECANS.COM                        8/30/11
 1148          INSTALL SHELLERS                                           9/14/11
 1165          ALARM SYSTEM FOR AIR COMPRESSORS                          12/07/11
 1175          3 ZEBRA LABEL PRINTERS                                     7/25/12
 1178          CONDENSOR FOR BAY 7                                        8/21/12
 1179          SS DUCTWORK FOR DRYER                                      8/15/12
 1180          BUHLER SORTEX SORTER                                       8/31/12
 1182          FIRE PROTECTION IN DRYER DUCTS                             8/30/12
 1190          SPRINKLE DEPT 8 DRYER                                     11/07/12
 1193          LABEL APPL/PRINTER                                        11/30/12
 1197          15 HP CONDENSOR BAY 6                                      1/15/13
 1201          REFRIG UNIT BAY 8 #17                                      3/14/13
 1205          4 BOX LABEL PRINTERS                                       5/01/13
 1206          DUCTWORK ON DEPT 8 DRYER                                   6/01/13
 1224          BEST SORTING MACHINE                                       8/01/14
 1229          CONVEYOR AND HOPPER FOR BEST MACHINE                       8/01/14
 1234          TRANSFORMER & PANELS DEPT 7                                8/22/14
 1239          ELECTRICAL FOR BEST SORTER                                 9/29/14
 1243          FREIGHT ON BEST SORTER                                    11/18/14
 1249          NEW DOCK PADS                                             12/31/14
 1262          NEW AIR COND NEW PLANT                                     6/01/15
 1283          BARRELL DUMP DEPOSIT                                       4/22/16
 1284          CHANGE OUT A/C UNIT #13                                    4/04/16
 1287          TRANE AC UNIT WITH HEAT                                    5/13/16
 1288          NEW METAL DETECTOR                                         6/28/16
 1292          NEW BARREL DUMPER                                          9/27/16
 1310          USED 5 SCREEN SIZER                                       10/18/17
 1313          NEW BARRELL DUMPER                                         2/01/18
 1319          NEW BARRELL DUMPER                                         7/10/18
 1332          1 NEW AMVT SORTER                                          8/29/20



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 1336           AIRLINES FOR NEW SORTERS                                  7/01/20
 1338           SATAKE SORTERS                                            8/01/20
 1339           NEW DOCK LEVELER                                          8/23/20
 1341           NEW CRACKERS MODERN ELECTRONIC                            9/01/21
 1342           TOMRA LASER SORTER                                       11/19/21
 1344           SATAKE SORTER                                            12/31/21

 Group: OFFICE & DATA EQUIPMENT
 76              MINI BLINDS                                              4/01/86
 85              CREDENZA                                                12/01/85
 86              LAMP TABLE                                              12/01/85
 87              LANDSCAPE SCREEN                                        11/01/85
 88              FILE CABINET                                            11/01/85
 89              FILE & STORAGE CABINET                                  11/01/85
 90              WALNUT BOOKSHELF                                        11/01/85
 91              3 INWOOD DESKS                                          11/01/85
 92              SECRETARIAL INWOOD DESK                                 11/01/85
 93              3 30X48 COMPUTER DESKS                                  11/01/85
 94              30X60 COMPUTER DESK                                     11/01/85
 96              DISPLAY SHELVES&BINSRETL                                11/01/85
 97              DISPLAY RACKS&BINSRETAIL                                11/01/85
 98              3 POSTURE CHAIRS                                        12/01/85
 100             METAL STORAGE RACKSOFFIC                                12/01/85
 101             SALES TAX ON RETAIL EQUIP                               12/31/85
 104             4 FOLDING TABLES                                         4/08/86
 105             OFFICE FURNITURE                                         4/30/86
 107             CHAIR SIDE FILE                                          5/05/86
 108             DATA RACK                                                5/05/86
 111             TYPEWRITER                                               6/20/86
 112             FILE/DATA RACK                                           6/19/86
 113             MINI BLINDS                                              6/25/86
 114             OFFICE FURNITURE                                         7/01/86
 115             HEATING/AIR CONDITOFFICE                                 4/01/86
 116             HEATING/AIR COND RETAIL                                  4/01/86
 118             FURNFIXTURES & OFFEQUIP                                  7/01/78
 119             OFFICE FURNITURE                                         3/31/79
 120             OFFICE FURNITURE                                         3/31/79
 121             OFFICE FURNITURE                                         5/21/79
 122             OFFICE FURNITURE                                         6/01/79
 123             OFFICE FURN & EQUIPMENT                                 12/31/79
 124             OFFICE FURNITURE                                         2/28/80
 126             OFFICE EQUIPMENT                                        11/11/80
 127             CABINETS OFFICE                                         12/10/80



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 128           CALCULATORS & CHAIRS                                      12/07/81
 129           TYPEWRITER                                                12/08/81
 131           MORTON'S OFFICE FURNITURE                                  6/22/82
 132           MORTON'S OFFICE FURNITURE                                  6/22/82
 133           2 DESKS CHAIR/TYPE TABLE                                   4/01/83
 134           IBM SELECTRIC TYPEWRITER                                   6/01/83
 140           IBM SELECTRIC II TYPEWRIT                                 11/01/84
 141           2 DESKS                                                   12/01/84
 142           CHAIR                                                     12/01/84
 143           TABLE HASCO 600                                           12/01/84
 147           NEW FILE CABINET                                           3/01/85
 148           IBM WHEELWRITER TYPEWRITE                                  3/01/85
 149           FILE CABINET                                               4/01/85
 150           DESK 2 CHAIRS & MATS                                       4/01/85
 153           DESK CHAIR & CHAIR MAT                                     7/01/85
 154           IBM TYPEWRITERWHEELWRITE                                   8/01/85
 155           TABLE                                                      8/01/85
 157           EXHIBIT BOOTH                                              9/01/85
 158           SIGN                                                      10/15/86
 159           EQUIPMENT                                                 11/01/86
 162           FILE CABINET                                               2/09/87
 164           FILE CABINET LEGAL SIZE                                    3/04/87
 165           TABLE BREAKROOM                                            3/04/87
 166           STORAGE CABINET                                            3/04/87
 167           SIDEARM CHAIRS (3)                                         3/04/87
 168           DESK CHAIR DRAFT TABLE                                     4/01/88
 170           LATERAL FILE CABINET                                       4/01/88
 174           LATERAL FILE CABINET                                       4/01/88
 175           IBM WHEELWRITER TYPEWRTER                                  4/01/89
 177           DESK & COMPUTER TABLE                                      4/01/89
 178           CHAIRS FILE CABINET                                        4/01/89
 188           PORTABLE DISPLAY BOOTH                                    10/15/92
 190           SECRETARIAL DESK                                           2/15/93
 191           LATERAL FILE CABINET                                       2/15/93
 192           OFFICE PARTITIONS                                          2/15/93
 193           IBM SELECTRIC II                                           5/15/93
 196           VIDEO TAPE FOR SHOWS                                       9/15/93
 197           VIDEOTAPE                                                  4/01/94
 199           IBM TYPEWRITER & STAND                                     4/01/94
 206           OFFICE STORAGE SHELVES                                     4/01/94
 208           CHAIRS FOR CONF ROOM                                       4/01/95
 209           CABINETS & SINK CONF ROOM                                  4/01/95
 210           TABLE FOR CONF ROOM                                        4/01/95



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 212           TV & VCR FOR CONF ROOM                                     4/01/95
 215           INSTALL PARTITIONS                                         4/01/96
 1081          COMPUTHINK VIEWWISE SOFTWARE                               8/15/09
 1088          NEW PHONE SYSTEM - CUSTOM TEL                              5/27/10
 1168          HP NETWORK SWITCHES                                        4/02/12
 1198          BARRACUDA LINK BALANCER                                    1/15/13
 1253          WEBSITE DEVELOPMENT                                        1/15/15
 1255          NOVA TIME CLOCKS & SOFTWARE                                2/28/15
 1272          DELL SERVER                                               10/02/15
 1280          NEW DELL SERVER                                            2/12/16
 1289          IBM RS 6000 SERVERS                                        8/18/16
 1326          NEW AC RETAIL STORE                                        1/06/20
 1337          ACCESS POINTS AND SWITCHES                                 7/31/20

 Group: OLD PLANT MACHINERY
 229            HYDRAULIC DUMPER                                         11/01/77
 230            PECAN HOPPER                                             11/01/77
 232            INFEED INSHELL CONVEYOR                                  11/01/77
 233            ELEVATOR                                                 11/01/77
 234            ELECTRIC CONTROL PANEL                                   11/01/77
 235            STEEL BIN HOLDING SYSTEM                                 11/01/77
 236            CONVEYORS2                                               11/01/77
 237            PECAN GRADER                                             11/01/77
 238            DESTONER SYSTEM                                          11/01/77
 239            DESTONER CONTROL PANEL                                   11/01/77
 240            ELEVATORS2                                               11/01/77
 241            ELEVATORS2                                               11/01/77
 242            ELEVATORS2                                               11/01/77
 243            ELEVATORS2                                               11/01/77
 244            ELEVATOR                                                 11/01/77
 245            INSHELL PECAN HOPPER                                     11/01/77
 246            INSHELL PECAN HOPPERS2                                   11/01/77
 247            PECAN FEED HOPPER                                        11/01/77
 248            AUTOFEED CONVEYORS 2                                     11/01/77
 251            VF2 SCREEN SIZERS [2]                                    11/01/77
 252            AIR SEPARATOR UNITS 8                                    11/01/77
 253            CONTINUOUS DRYER /COOLER                                 11/01/77
 254            COLLECTOR CONVEYOR                                       11/01/77
 255            SHELLING PLANT BAY                                       11/01/77
 256            VF2 SCREEN SIZER                                         11/01/77
 257            AIR SEPARATOR UNITS 2                                    11/01/77
 258            STAINLESS HOPPERS 2                                      11/01/77
 259            BARREL DUMP 2                                            11/01/77



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 261           SETTLING TANK 3                                           11/01/77
 262           CABINET TYPE DRYER                                        11/01/77
 263           ELEVATOR                                                  11/01/77
 264           HOPPERS 2                                                 11/01/77
 265           BARREL JUMP                                               11/01/77
 266           FEED HOPPERS 2                                            11/01/77
 269           AIR CONVEYING SYSTEM 3                                    11/01/77
 270           DRYER                                                     11/01/77
 272           BUCKET ELEVATORS                                          11/01/77
 275           WATER COOLER                                              11/01/77
 277           SCALE                                                     11/01/77
 278           SCALE                                                     11/07/77
 279           SCALE                                                     11/01/77
 280           INTERNA`L WEIGHT SCALE                                    11/01/77
 281           MASTER CONTROL PANEL                                      11/01/77
 282           SHELL MOTOR                                                1/01/78
 283           HYD LIFT                                                   1/01/78
 284           SIZER SCREEN                                               1/01/78
 285           SCALE                                                      2/01/78
 286           CASEBEARER REMOVAL UNIT                                    3/01/78
 287           CISCO STOOLS                                               4/01/78
 288           AUREX BELT ASSEMBLY                                        4/01/78
 289           ELECTRIC RANGE                                             7/01/78
 290           M2 US ELEC REDUCERS                                        8/01/78
 291           PLATE SEC/PIECE DRYER22                                    3/01/78
 292           SAW BAND                                                   3/01/78
 293           DRILL PRESS                                                3/01/78
 294           WELDING TABLE                                              3/01/78
 295           VALVE FOR FLOATER                                          4/01/78
 296           COASTER WHEELS 112                                         5/01/78
 297           SIGN                                                      12/01/77
 299           LIFT STATION                                               1/01/77
 300           PALLETS                                                    1/01/77
 301           WATER METER                                                1/01/77
 302           MILITARY SHEET METAL                                       1/01/78
 303           MV FLEX SIZER NUT POCKET                                   3/01/78
 304           MEYER SHELLER AS1819R                                      1/01/78
 305           INSTALLATION EXPENSE                                       1/01/78
 306           COOLER EQUIPMENT                                           1/01/78
 307           MACH DEPOSIT                                              10/31/78
 308           INSTALLATION                                              10/31/78
 309           INSTALLATION                                              11/30/78
 310           INSTALLATION                                              12/31/78



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 313           RYERSON AND MCMEEKIN                                       1/01/79
 314           ELEVATOR                                                   1/01/79
 315           PLASTIC STRIP CURTAIN                                      2/28/79
 317           INSTALLATION                                               3/31/79
 319           EXHAUST FAN & ROOF FAN                                     3/31/79
 320           SSTEEL HOPPER EXTEN3                                       5/21/79
 321           PALLET BOXES 150                                           5/18/79
 322           TWO SCREEN STACK SIZER 2                                   5/21/79
 323           VERTICAL CONT DRYER/COOL                                   5/21/79
 324           STOOLS 10                                                  5/21/79
 325           SET OF WRENCHES (11)                                       5/21/79
 326           DODGE PILLOW BLOCKS 4                                      6/12/79
 327           LOVEJOY COUPLING                                           6/12/79
 328           5/8INSTEEL COLLAR WOODS10                                  6/12/79
 329           GRAVEL FOR PARKING LOT                                     6/12/79
 330           INSTALLATION                                               6/12/79
 331           INSTALLATION OF EQUIP                                      6/12/79
 332           INSTALLATION OF EQUIP                                      6/01/79
 334           200' SURE LINK BELTING                                     7/11/79
 335           9INBLOWER W/MOTOR                                          7/11/79
 336           TUBES 3                                                    7/11/79
 337           TUBES                                                      7/13/79
 338           COOLER                                                     7/26/79
 339           PANS4/ANGLES/FEEDER SEC                                    8/07/79
 340           USED ENGINE                                                8/29/79
 341           ENGINE                                                     9/06/79
 344           TOP WIDTH TABLETOP CHAIN                                   9/16/79
 345           VERT/DRYER & INSP TABLE                                    9/30/79
 346           STAINLESS STEEL HOPPER                                     9/30/79
 348           ANGA3613/HR STRIP 105                                      9/30/79
 349           RYER EXP METAL SHT FLATT                                   9/30/79
 350           VERTICAL SECTION                                           9/30/79
 352           SIMPLEX CONV ELEVATOR                                      9/30/79
 353           SIMPLEX CONV ELEVATOR                                      9/30/79
 354           SIMPLEX CONV ELEVATOR                                      9/30/79
 355           2050 VSPD PULLEY/ACCESS                                    9/30/79
 356           MOTORS/4SBLADES/6PULL2                                     9/30/79
 357           NEW PLUMBING                                              10/30/79
 358           FENCE ON GROUNDS                                          10/31/79
 360           BREAK ROOM FURNITURE                                      11/30/79
 361           EQUIPMENT                                                 12/31/79
 362           INSTALLATION                                              11/30/79
 363           OFFICE IN WAREHOUSE                                        1/31/80



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 365           MACHICE                                                    3/31/80
 366           EQUIPMENT                                                  5/06/80
 367           INSTALLATION                                               5/06/80
 368           LUNCHROOM FURNITURE                                        6/05/80
 369           MACHINERY                                                  6/30/80
 370           PUMP FOR SEWER SYSTEM                                      9/02/80
 371           STOOLSFINISH ROOM                                          9/02/80
 373           STEEL DUAL BIN                                             7/25/80
 374           HOIST 1TON                                                 8/01/80
 375           TOOTH HD BLADES 18                                         8/01/80
 376           3/8 DRIMPACT SOCK SET                                      8/01/80
 377           4 TUBE HREW STRUCTA500B                                    8/08/80
 378           5 TUBE HREW STRUCTA500B                                    8/08/80
 379           4 TUBE HREW STRUCTA500B                                    8/08/80
 380           ANG HR A361X1X1 (40)                                       8/08/80
 381           ANGA36 L3X2X3/16 (4)                                       8/08/80
 382           HR A36 3/8X3FLTX61/2IN15                                   8/08/80
 383           HR A36 3/8X4FLT                                            8/08/80
 384           HR A36 3/8X6FLTX8IN (5)                                    8/08/80
 385           TUBE HREW STRUCT(5)A500B                                   8/08/80
 386           TUBE HREW STRUCT(2)A500B                                   8/08/80
 387           TUBE HREW STRUCT(2)A500B                                   8/08/80
 388           PERFORATED SHEETS (2)                                      8/08/80
 389           HR SHEET (20)                                              8/08/80
 390           TAKE AWAY PAN                                              8/08/80
 391           TUBE HR WELD (14)                                          8/08/80
 392           TUBE HR WELD (6)                                           8/08/80
 393           TUBE HR WELD (8)                                           8/08/80
 394           TUBE HR WELD (8)                                           8/08/80
 395           TUBE HREW STRUCTA500B                                      8/08/80
 396           MACHINERY                                                  8/18/80
 397           MACHINERY                                                  8/18/80
 398           MACHINERY                                                  9/02/80
 399           3 STEP INSPECTABLE (3)                                     9/05/80
 400           2 SCREEM SIZE SERIAL                                       9/05/80
 402           ILS30X30LINE SIZER SCR                                     9/22/80
 403           26 GUAGE CHUTE EXTENSIONS                                  9/27/80
 404           MACHINERY                                                  9/22/80
 405           MODEL 6914 PIECE SHELLER                                  10/08/80
 406           EXTENSION SUCTION                                         10/08/80
 407           SIMPLEX CONV ELEVATOR                                     10/08/80
 408           PARTS FOR NEW MACHINERY                                   10/08/80
 409           STAINLESS STEEL SCALE                                     10/24/80



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 410           PARTS FOR NEW MACHINERY                                   10/28/80
 411           MACHINERY                                                 11/08/80
 412           MACHINERY                                                 12/03/80
 413           MACHINERY                                                 12/23/80
 414           MER55 BARREL FLOAT                                         1/28/81
 415           INLINE SIZER                                               1/28/81
 416           EIGHT INCH BLOWERS (8)                                     1/28/81
 417           DUAL LANE CONVEYOR                                         1/28/81
 418           STAND FOR MOUNTING BLOWER                                  1/28/81
 419           MACHSALVAGE DEPT                                           2/10/81
 420           BAG SEALER                                                 1/28/81
 421           SPIN BASKET                                                5/22/81
 422           INSTALLATION                                               6/16/81
 423           30 ANGLE RINGS                                             6/26/81
 424           INSTALLATION                                               6/30/81
 425           SSTEEL DUAL BIN                                            9/01/81
 426           PALLETS                                                    8/01/81
 427           SWIVEL PLATE COSTERS 100                                   8/01/81
 430           BENCH SCALE                                               12/07/81
 432           ELEVATOR                                                  12/23/81
 433           CORSICANA SHEET METAL                                      7/21/82
 435           MISC EQUIP                                                 8/26/82
 436           MISC EQUIP ROASTER                                         9/30/82
 437           INSHELL HOLDING BIN                                        9/30/82
 438           FEEDER CONVEYOR                                            9/30/82
 439           DUAL LANE CONVEYOR                                         9/30/82
 440           ELEVATOR HOPPER FEEDER                                     9/30/82
 441           EIGHT INCH BLOWER                                          9/30/82
 442           FREIGHT ON EQUIP                                           9/30/82
 443           HOT WATER SANITIZER                                        9/30/82
 444           TABLE DESKS 2                                             10/01/82
 446           MISC EQUIPMENT                                            11/01/82
 447           FREIGHT ON NEW MACH                                       12/01/82
 448           ROASTER                                                   12/01/82
 449           FREIGHT ON MACH                                           12/01/82
 450           INSHELL GRADER                                             1/01/83
 452           FREIGHT ON MACH                                            1/01/83
 454           FREIGHT ON MACH                                            2/01/83
 455           SSTEEL HOLDING BIN                                         2/01/83
 457           HOT WATER HUMIDIFIER/TANK                                  1/01/83
 458           INSTALL WIRE / MISC                                        4/01/83
 459           EXHAUST FAN                                                6/01/83
 460           HOTWASHER EQUIP                                            6/01/83



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 461           INSTALL/SEPTIC TANK/EQUIP                                  6/01/83
 462           INSTALLATION OF EQUIP                                      6/01/83
 467           INLINE SIZER/SCREENS                                       7/01/83
 468           4INCH ELEVATOR/FREIGHT                                     7/01/83
 470           SIMPLEX CONV ELEVATOR                                      8/01/83
 471           WATER COOLER/INSTALLATION                                  8/01/83
 472           CONTDBUCKET ELEVATOR                                       9/01/83
 473           1/3HP AUTO SUMP PUMP                                       9/01/83
 475           SIGN ON BLDG                                               9/01/83
 476           WET GRAIN HOLDING TANK                                     8/01/83
 477           GRADING SYSTEM/MISC                                        9/01/83
 478           GRADING SYSTEM 7 CHUTES                                    9/01/83
 479           INSTALLSIZER & ELEVATOR                                    9/01/83
 480           STEEL VENT HOOD                                            7/01/83
 481           BARREL LIFT DUMP                                           7/01/83
 482           DUAL BIN                                                   7/01/83
 483           VIBRATORY CONVW/AIR GATE                                   7/01/83
 484           HOPPER                                                     7/01/83
 485           FEEDER CONVEYOR                                            7/01/83
 486           MAGMET ASSEMBLY                                            7/01/83
 487           SIZER STAND/HOPPER                                         7/01/83
 488           ELEVATOR SPLITTER CHUTE                                    7/01/83
 489           SUPPORTING LEGS (SIZER)                                    7/01/83
 490           FREIGHT ON MACH                                            9/01/83
 491           INSTALL EXHAUST HOODS                                      7/01/83
 492           HYDRAULIC TOTE BIN DUMPER                                 10/10/83
 493           FREIGHT ON MACH                                           10/10/83
 494           MEYER PECAN GRADER                                        11/01/83
 495           P40 FORKLIFT                                              10/01/83
 496           CONT BUCKET ELEVATOR                                      12/01/83
 497           STAR FILTER PRESS                                          4/01/84
 498           BASKET STRAINER                                            6/01/84
 499           FREIGHT ON MACH                                            1/01/84
 500           REFRIGERATOR (TRAILER)                                     3/01/84
 501           AJAX SHAKER                                                4/01/84
 502           SYNCROGEAR REDUCER 2                                       5/01/84
 503           SIZER SCREEN                                               5/01/84
 504           DECK SIZER SCREEM                                          5/01/84
 505           STEEL TROUGH COVER                                         5/01/84
 506           STAINLESS STEEL RAKE                                       5/01/84
 507           LITLON ROLLER CONV 2                                       5/01/84
 508           SSTEEL VENTING DUCT                                        7/01/84
 509           BLOWER FOR COOLING TABLE                                   7/01/84



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 510           AIR COOLED;COMPRESSOR                                      3/01/84
 511           INSTALLAIR COMPRESSOR                                      4/01/84
 512           FREIGHT ON MACHINERY                                       6/01/84
 514           REPAIR & RESHEET W/SS                                      4/01/84
 515           GRADER/REWORK GRADER                                       3/01/84
 516           3STEP INSP TABLES 2                                        9/01/84
 517           TABLE HOPPER EXTEN 2                                       9/01/84
 518           STERILIZATION CHAMBER                                      9/01/84
 519           BARREL LIFT DUMP                                           9/01/84
 521           BARREL LIFT DUMP                                           9/01/84
 522           DOUBLE BLOWER                                              9/01/84
 523           DOUBLE BLOWER                                              9/01/84
 524           HOOPER FEEDER                                              9/01/84
 525           NEW MACH SCREW CONVCORP                                    5/01/84
 526           FIRE EXTINGUISHER EQUIP                                    7/01/84
 527           SETTING INSHELL GRADER                                    12/01/83
 528           INSTALL CONVEYOR                                           2/01/84
 529           FREIGHT ON MEYER MACH                                      2/01/84
 530           INSTALLATION GAS CHAMBER                                   7/01/84
 531           FREIGHT ON MACH PUMP VAC                                  10/01/84
 532           PB SUBMERSIBLE PUMP                                       11/01/84
 533           SYNCROGEAR REDUCER 2                                      11/01/84
 534           WEIGH TRONIX BENCH SCALE                                  11/01/84
 535           WEIGH TRONIX DECK SCALE                                   12/01/84
 536           FREIGHT ON MACH                                            2/01/85
 537           INGREDIENT BIN                                             5/01/85
 539           FREIGHT ON MACH                                            6/01/85
 540           WORK TABLE/ROASTING ROOM                                   6/01/85
 541           SSTEEL BOXES 10                                            6/01/85
 542           CONT D ELEV BUCKET                                         5/01/82
 543           CONVEYOR                                                   5/01/82
 544           RACK INST & FREIGHT                                        5/01/82
 545           RACKS                                                      3/01/83
 546           RACKS                                                      4/01/83
 547           INSTALLATION OF EQUIP                                      6/01/83
 548           FREIGHT ON NEW MACH                                        9/01/84
 549           FREIGHT ON MACH                                            7/01/85
 550           CSTEEL METAL/MISCEQUIP                                     7/01/85
 553           SVP 6030 BAILER                                            4/01/88
 558           FIRE SPRINKLER SYSTEM                                      4/01/88
 559           LEWIS CARTER CONVEYOR                                      4/01/89
 560           LEWIS CARTER CONVEYOR                                      4/01/89
 571           HANDWASHER                                                 2/15/91



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 572           BARREL LIFT DUMP                                           2/15/91
 573           FENCE INSHELL RECEIVING                                    5/15/91
 575           18IN MEYER DIAL SHELLER                                    9/15/91
 576           NEW SCALE FOR LAB                                          9/15/91
 580           AJAX FLOAT                                                 1/15/92
 581           BASKET SCALE                                               2/15/92
 582           HOT WATER HEATER                                           4/15/92
 583           BLOWERS                                                    5/15/92
 584           HOPPERS                                                    5/15/92
 585           INSHELL SCALE                                              7/15/92
 586           INSHELL SIZING SYSTEM                                      9/15/92
 587           HOIST                                                      9/15/92
 588           PUMPS & SEPARATOR WASTE P                                  1/15/93
 590           DRY MATERIAL FEEDER                                        4/15/93
 591           STAINLESS STEEL BARRELS                                    4/15/93
 592           INSPECTION TABLE                                           5/15/93
 593           AJAX SHAKER                                                6/15/93
 594           NEW FRONT SIGN                                             7/15/93
 595           SPRAY TUMBLER                                              7/15/93
 596           CONVERSION FRAME 4 QUANTZ                                  7/15/93
 597           MEYER 32' INSHELL SIZER                                    7/15/93
 599           MEYER BUCKET ELEVATORS                                     7/15/93
 600           AJAX SHAKER                                                7/15/93
 601           MEYER 32' INSHELL SIZER                                    8/15/93
 603           10IN ADJACK                                                8/15/93
 604           PECAN SHELLER                                              9/15/93
 605           3 COMPARTMENT SINK                                         2/15/93
 606           AUTO DOORS FOR STORAGE                                     8/15/93
 607           INSHELL GRADER REBUILT                                     4/01/94
 608           VACUUM PACKAGING MACHINE                                   4/01/94
 610           EQUIPMENT                                                  4/01/95
 612           USED FORKLIFT                                              4/01/96
 613           ELECTRONIC SCALE                                           4/01/96
 619           BINS & EQUIPMENT                                           4/01/96
 620           ELEVATORS & EQUIPMENT                                      4/01/96
 621           REFRIGERATION EQUIP                                        4/01/96
 622           AIR COMPRESSORS FOR BAY 1                                  4/01/96
 623           TOTE BOXES & FRT                                          10/15/97
 625           STAINLESS STEEL BARRELS                                    3/15/98
 627           TRANE AIR CONDITIONER                                      4/15/98
 629           REFRIGERATION EQUIPMENT                                    6/15/98
 632           INSHELL GRADER PARTS                                       6/15/98
 633           RARE EARTH MAGNETS                                         8/15/98



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 634           STENCIL MACHINE                                            5/01/98
 635           SATAKE BELT SORTER                                         6/15/98
 636           STAINLESS HOPPER                                           3/15/98
 638           MISCELLANEOUS EQUIPMENT                                    3/15/98
 639           INSTALLATION OF EQUIP                                      7/01/99
 640           TABLES ROASTER DRAIN PAN                                  11/15/06
 641           FIRE HYDRANTS SPRINLER S                                  11/15/06
 642           MOTOROLA BASE & RADIOS                                    12/19/06
 643           NEW SCALE                                                  6/26/07
 644           ELECTRIC NEW GATE COMPR                                    9/15/07
 1059          PECAN SHAKER WATER SEPARATOR (2)                          10/31/07
 1060          ELECTRONIC GATE - INSHELL                                 11/30/07
 1061          SPRINKLER FLUSHING NEW FOAM INSHELL COOLER                12/31/07
 1063          SAFELINE METAL DETECTOR                                    8/27/08
 1065          TRUCK SCALE INDICATOR/PRINTER                             11/04/08
 1067          ASPHALT PAVING INSHELL ENTRANCE                           12/03/08
 1072          REBUILD BATCH ROASTER                                      4/30/09
 1073          SAFELINE METAL DETECTOR                                    9/01/09
 1074          WIRELESS ACCESS POINTS                                     6/29/09
 1075          SCISSOR LIFT TRUCK                                         6/29/09
 1076          UPGRADE FIRE ALARM SYSTEM                                  6/18/09
 1077          FLOOR SCRUBBER - TENNANT                                   7/31/09
 1078          WI FI RADIOS & EQPT                                        7/08/09
 1079          PIN TUMBLER SOUTHERN NUT N TREE                            7/31/09
 1080          OVERHEAD DOORS IN PLANT                                    8/15/09
 1083          NEW ENERGY EFFICIENT LIGHTS RANDYS                         2/13/09
 1084          REBUILD BATCH ROASTER                                     11/11/09
 1085          SOUTHERN NUT & TREE                                       11/20/09
 1095          8 USED TOYOTA FORKLIFTS                                    6/15/10
 1101          NEW METAL DETECTOR                                        10/31/10
 1104          PLUMBING - BARREL WASH                                     9/15/10
 1106          NEW FENCING - ANNEX PROP                                   5/01/10
 1108          NEW CONDENSER BAY 5                                        6/01/10
 1109          3 NEW COMPRESSORS SHIPPING                                 6/01/10
 1111          SCALE INDICATORES - TEMP TANKS                            10/15/10
 1112          NEW PALLET JACKS                                          10/15/10
 1113          BARRELL WASHER EQUIP                                      10/25/10
 1114          JOHNSON EQUIP                                             10/27/10
 1116          NEW SCISSOR LIFT                                          11/16/10
 1119          BARRELL WASH JOHNSON LOPEZ                                12/27/10
 1120          SALT MACHINE                                               3/31/11
 1121          RANDYS ELEC/LOPEZ                                         12/31/10
 1122          ROYAL FLUSH PLUMBING                                       1/13/11



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 1123          USED SHELL TRUCK                                           1/17/11
 1124          AREA WIDE COMPRESSORS                                      1/19/11
 1127          RANDYS ELECTRIC WIRING                                     1/31/11
 1129          JAMES MFG - GUARDS FOR MOTORS                              1/31/11
 1130          PAINTING & CONTRUCTION                                     2/28/11
 1131          INSHELL PARKING LOT                                        3/31/11
 1132          NEW AIR COMPRESSORS                                        3/31/11
 1137          2 USED FORKLIFTS                                           6/03/11
 1138          4 SAVAGE SHELLERS                                          6/30/11
 1140          COMPRESSORS - BAY 5 AREA WIDE                              7/15/11
 1141          NEW PLUMBING FIXTURES                                      7/18/11
 1142          FIRE ALARM STROBES ACTION                                  7/18/11
 1143          BARRICADES FOR EQUIPMENT LOPEZ                             7/27/11
 1146          INTAKE FAN DUCTWORK CORS A/C                               8/10/11
 1147          ELECTRICAL WORK - RANDY                                    8/15/11
 1149          AREA WIDE/KAISER                                           9/23/11
 1150          LOPEZ CARPENTRY                                            9/28/11
 1154          LOCKOUT TAGOUT DISCONNECT BOXES RANDY                      3/01/11
 1158          FABRICATE CHUTES/CATWALKS                                 10/15/11
 1159          RANDY'S - NEW WIRING                                      10/15/11
 1160          OUTDOOR CURTAIN FOR AIR COMPRESSORS                       10/15/11
 1161          FABRICATE CHUTES & CATWALKS                               11/15/11
 1162          NEW COMPRESSOR FOR BAY 2                                  11/01/11
 1164          CONCRETE SLAB - HA PAIR                                   12/28/11
 1166          SURGE PROTECTOR AIR COMPRESSORS                            3/06/11
 1167          ACTION FIRE STROBES/HORNS                                  4/16/12
 1169          BUILD WALL FOR AIR COMPRESSORS                             4/10/12
 1170          NEW REFRIGERATION COMPRESSORS                              4/24/12
 1171          LOPEZ FENCING NEW DOORS                                    4/30/12
 1172          USED EQUIP - TOMS AUCTION                                  5/02/12
 1173          NEW COMPRESSORS - AREA WIDE                                5/31/12
 1174          AIR COMPRESSOR PIPING                                      7/16/12
 1176          FENCE & CLEAR NEW LOT                                      7/26/12
 1177          REFRIGERATION COMPRESSORS                                  7/15/12
 1181          NEW REFRIG UNITS FOR SHIP COOLER                           9/20/12
 1185          NEW CONDENSOR BAY 2 #33                                   10/17/12
 1186          NEW EXHAUST & INTAKE DEPT 1 DRYER                         10/19/12
 1187          JACKRABBIT STEEL FOR DUMPER                               10/30/12
 1191          2 ELECTRIC AUGERS                                         11/27/12
 1192          TOYOTA FORKLIFT                                           11/23/12
 1194          TOYOTA PALLET JACK                                        12/11/12
 1195          4 EYEWASH STATIONS                                        12/14/12
 1196          SPRINKLERS IN DRYER #3                                    12/27/12



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 1199          POWER UNIT FOR DUMPER                                      1/09/13
 1200          NEW EVAPORATOR COIL BAY 2                                  2/13/13
 1202          NEW DUCTWORK ON DRYER                                      3/01/13
 1203          TENNANT FLOOR SCRUBBER                                     4/15/13
 1204          SPRINKLER HEADS IN DRYER VENTS                             5/01/13
 1207          REBUILD INSHELL GRADER                                     6/14/13
 1209          3 NEW CONDENSOR/EVAPORATORS                                8/01/13
 1210          NEW CONDENSOR/EVAPORATOR                                   8/01/13
 1212          FIRE SYSTEM ROASTING ROOM                                  8/31/13
 1213          NEW CONDENSOR EVAPORATOR                                   9/16/13
 1215          NEW CONDENSOR & EVAPORATOR BAY 2                          10/14/13
 1216          REBUILD INSHELL GRADER                                    11/01/13
 1217          HOISTS AND TROLLEYES FOR INSHELL GRADERS                  11/06/13
 1218          1992 FRUEHAFF TRAILER                                     12/11/13
 1219          FIRE SYSTEM ROASTING AND ALCOHOL ROOMS                    12/18/13
 1220          CONTROLLER FOR BOX PRINTERS                               12/06/13
 1221          USED 53' TRAILER                                           1/10/14
 1222          FIRE SYSTEM ROASTING ROOM                                  3/15/14
 1223          ERIEZ MAGNETS                                              4/15/14
 1227          USED CENTRIFUGE                                            5/02/14
 1230          1 TON HOIST FOR CENTRIFUGE                                 5/28/14
 1231          MEAL GRINDER - INCUS SPAIN                                 6/30/14
 1232          NEW ROOF AIR OVER STORAGE AREA                             7/01/14
 1233          ELECTRICAL FOR CENTRIFUGE                                  8/01/14
 1236          POWER WASHER TRAILER                                       9/25/14
 1237          TOYOTA FORKLIFT                                            9/25/14
 1240          NEW COPELAND COMPRESSOR                                   11/04/14
 1241          REBUILD INSHELL SIZER                                     11/18/14
 1242          INSHELL BLOWER/SCALE                                      11/20/14
 1244          HOPPER FOR MEAL GRINDER                                   11/25/14
 1245          FABRICATE ROASTER HOPPER AND FRAME                        11/05/14
 1246          ELECTRICAL FOR REFRIGERATION EQUP                         12/08/14
 1248          METER FOR SEWER WATER                                     12/31/14
 1250          MEAL GRINDER INCUS SPAIN                                   1/15/15
 1251          OVERHEAD DOORS                                             1/15/15
 1252          FLOORING FOR ROASTING ROOM                                 1/15/15
 1254          REBUILD INSHELL SIZER                                      2/06/15
 1256          2 ROASTING BASKETS                                         3/25/15
 1258          BAY 7 REFRIGERATION SYSTEM                                 4/10/15
 1259          RETROFIT LIGHTING TO LED                                   4/01/15
 1260          NEW COOLER DOOR BAY 3                                      5/11/15
 1261          NEW CONDENSOR BAY 5 UNIT 39                                6/08/15
 1263          STICKTITE BREAKER MODERN ELEC                              7/01/15



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 1264          MOISTURE ANALYZER                                          8/24/15
 1266          2 ELECTRONIC FLOOR SCALES                                 12/15/14
 1267          REBUILD TOTE DUMP FOR SAFETY                               5/19/15
 1268          NEW BUG BLOCKER DOORS                                      4/20/15
 1269          REBUILD 3 ROASTING BASKETS                                 5/29/15
 1270          NEW EVAPORATOR BAY 5 UNIT 24                               8/07/15
 1274          1 TON HOIST WITH CONTROLLER                               10/30/15
 1275          SATAKE EVOLUTION SORTER                                   11/05/15
 1278          MOISTURE ANALYZER                                         12/15/15
 1279          METAL STORAGE RACKS                                        2/08/16
 1281          NEW COMPRESSOR UNIT 22                                     3/15/16
 1282          STAINLESS STEEL BARRELLS                                   4/11/16
 1285          NEW COMPRESSOR BAY 3 UNIT 30                               5/01/16
 1286          BOHN 30HP CONDENSOR & 2 EVAPORATORS                        5/15/16
 1290          NEW REFRIG COMPRESSOR                                      9/06/16
 1291          1 TON HOIST                                                9/19/16
 1293          SUBMERSIBLE PUMP ELECTRICO                                 2/13/17
 1294          VACUUM TANK REPLACEMENT                                    3/07/17
 1295          CONVEYORS                                                  3/08/17
 1296          3 SIZERS MODERN ELEC                                       3/24/17
 1297          CHART RECORDERS FOR TEMP TANKS                             4/10/17
 1298          STAINLESS STEEL FRAME HOPPER STICKTITE BRKR                5/26/17
 1299          SIZER FEED HOPPERS                                         6/06/17
 1300          RARE EARTH MAGNETS                                         7/01/17
 1301          1 TON HOIST                                                7/18/17
 1302          FABRICATE HOPPERS AND CONTROLS TEMP TANKS                  8/31/17
 1303          4 SAVAGE SHELLERS                                          9/30/17
 1304          NEW EVAPORATOR FREEZER 24                                  8/28/17
 1305          OIL ROAST SYSTEM UPGRADE                                  12/15/17
 1306          CONTINUOS ROASTER CONTROLS                                11/15/17
 1308          CUSTOM HOPPER EXTENSIONS                                  12/11/17
 1309          REWORK ELEVATOR WET SHELL                                 10/17/17
 1311          2 TOYOTA PALLET JACKS                                     12/15/17
 1316          REPLACE INSULATION ON SUCTION LINES                        6/01/18
 1320          NEW EVAPORATOR UNIT 41                                     7/25/18
 1321          NEW COMPRESSOR                                             9/25/18
 1322          REPLACE COMPRESSOR 24                                      4/02/19
 1323          REPLACE COMPRESSOR 26                                      5/01/19
 1329          MOISTURE ANALYZER                                          2/24/20
 1330          2 SATAKE SORTERS                                           5/01/20
 1331          2 USED AMVT SORTERS                                        5/12/20
 1333          SATAKE SORTERS                                             6/08/20
 1334          REPLACE FREEZER UNIT AND EVAPORATOR                        6/22/20



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 1335          USED GENIE LIFT                                            7/30/20
 1340          MOISTURE ANALYZER INSHELL                                  5/30/21
 1343          10 SAVAGE CRACKERS LEASED                                 12/02/20
 1346          NEW EVAPORATOR ON UNIT 25                                  3/15/22




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                             Schedule 2.1(c) – Personal Property

All Material Contracts described in Schedule 4.8



 Group: 3M BUILDING EQUIPMENT
 1325            METTLER TOLEDO XRAY MACHINE                       11/30/19
 1328            LAUGHLIN CONVEYOR SYSTEMS                         1/31/20

 Group: AUTOS & TRUCKS
 574             1985 CHEVY TRUCK                                  8/15/91
 1057            1999 CHEVROLET PICKUP                             5/01/99
 1238            USED IH CARGO TRUCK                               9/29/14
 1247            YARDDOG TRUCK                                     12/19/14
 1327            USED SHELL TRAILER                                1/22/20

 Group: BUILDINGS
 1              ORIG BUILDING                                      3/01/77
 3              AIR COND UNIT                                      9/01/79
 4              NEW CONSTR                                         8/01/79
 5              NEW CONSTR                                         11/01/77
 6              MOBILE HOME IMPROVE                                3/01/80
 7              BUILDING COOLER                                    10/01/77
 8              WIRING                                             12/01/80
 9              BLDG IMPROVEMENTS                                  12/31/80
 10             PLUMBING                                           3/01/81
 11             INSTALLATION                                       3/01/81
 13             NEW GRADING SYSTEM ROOM                            9/01/83
 14             IMPROVEMENTS TO WORM ROOM                          9/01/83
 15             IMPROVEMENTS TO RETAIL ST                          5/01/83
 16             ADDITIONS TO PARKING AREA                          5/01/83
 17             ROOSTING ROOM / SHOP                               3/30/84
 18             NEW ROOF/BLDG EXTDOCK                              3/30/84
 19             GRADING ROOM IMPROVEMENTS                          3/30/84
 20             NEW PANELS/CEILING WHSE                            3/30/84
 21             LIGHTING MISC IMPROVE WH                           3/30/84
 22             MISC                                               3/30/84
 23             MOBILE HOME                                        3/01/85
 24             NEW PANELS WHSE                                    3/01/85
 25             NEW ROOMS [5] WHSE                                 6/01/85
 26             GLIDEROL DOORS [2]                                 2/01/85
 27             MOBILE HOME CARPET                                 1/01/86
 28             WIRING                                             1/01/81



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 29            NEW OFFICE SPACE                           4/01/86
 30            RETAIL STORE AREA                          4/01/86
 31            PROCESS BUILDING                           4/01/86
 32            DRYER ROOM                                 4/01/86
 33            STORAGE & STAGING                          4/01/86
 34            LAND IMPROVEMENTS                          4/01/86
 35            PAVED PARKING                              4/01/86
 36            METAL STORAGE BLDG                         4/01/86
 37            RETAIL RESTROOM                            6/01/87
 38            TRUCKSCALE & HOUSE                         4/01/88
 39            NEW BREAKING ROOM                          4/01/89
 40            CONCRETE APRONS                            4/01/89
 41            FOAM INSULATION                            9/15/91
 42            AIR COND UNIT                              10/15/91
 43            INSHELL SIZER ADDITION                     8/15/92
 44            NEW INSHELL SIZER BLDG                     11/15/92
 45            PARKING LOT IMPROVEMENTS                   11/15/92
 46            ROOFING IMPROVEMENTS                       6/15/93
 47            WASTE WATER TREATMENT                      9/15/93
 48            24' X 125' STORAGE BLDG                    4/01/94
 49            TRUCK LOADING WELL                         4/01/94
 50            GUARDRAILS & WALLS 123                     4/01/94
 51            TRAILER STORAGE AREA                       4/01/94
 52            CONFERENCE ROOM ADDTION                    4/01/94
 53            GRAVEL PAVING                              4/01/95
 54            INSHELL RESTROOM                           4/01/95
 55            NEW STORAGE BUILDING                       4/01/95
 56            NEW SHIPPING DOCK                          1/01/96
 57            BAY 1 REPROCESSING ROOM                    1/01/96
 58            NEW INSHELL RECEIVING DOC                  9/01/96
 59            GRAVEL TRUCK PARKING                       4/01/96
 60            INSHELL RECEIVING DOCK                     11/01/96
 61            GRAVEL & PAVING                            4/01/97
 62            CAPITALIZED INTEREST '85                   7/01/85
 63            URETHANE ROOF                              10/15/97
 64            REPROCESSING BUILDING                      1/01/99
 65            PARKING LOT REPROCESSIN                    1/01/99
 66            REPAIR TO WALLS                            3/01/99
 67            GRAVEL & PAVING ROADS                      4/01/00
 68            NEW SEWER LINE                             4/01/00
 69            PORTABLE SHIPPING OFFICE                   4/01/00
 70            MACHINE SHOP BUILDING                      4/01/00
 71            WATKINS BLDG IMPR                          4/01/01



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 72            JOHNSON DRIVEWAYS                          4/01/01
 73            ATLAS PORTABLE BLDG                        4/01/01
 74            CONCRETE PAD INSHELL GATE                  8/31/07
 75            NEW PARKING LOT PAVEMENT                   3/31/07
 1086          NEW ROOF - OLD PLANT                       1/05/10
 1087          NEW ROOF - OFFICE                          3/31/10
 1089          INSHELL BREAK ROOM ADDITION                5/26/10
 1093          ROAD/PK LOT/PAVING                         5/25/10
 1096          CONCRETE/ASPHALT/DRAINAGE                  6/01/10
 1097          CONCRETE/ASPHALT/DRAINAGE                  7/28/10
 1100          CONCRETE WORK                              8/06/10
 1107          NEW ELECTRICAL - RANDY                     6/01/10
 1117          HA PAIR - CONCRETE                         11/30/10
 1118          RANDY/LOPEZ - ELEC/PAINT                   11/18/10
 1134          LOPEZ CONSTRUCTION                         4/30/11
 1135          H A PAIR ASPHALT                           4/30/11
 1153          SHELVES, HALL, DOOR LOPEZ                  1/25/11
 1155          PARKING LOT POLES                          5/20/11
 1156          EMERGENCY LIGHTS, WIRE CAMERAS             7/15/11
 1157          BAY 2 & 3 DRAIN LINES AREA WIDE            4/14/11
 1163          NEW DOORS - FAIRWAY                        12/15/11
 1184          REBUILD WALL BAY 2 & 3                     10/29/12
 1188          ADD DOOR CLOSE DOORS ON ROASTING ROOM      10/16/12
 1189          PARKING/CONCRETE INSHELL AREA              10/26/12
 1208          LINER PANELS TO COVER INSULATION           6/06/13
 1214          ADD FANS AND RESEAL BAY 2 & 3 WALL         10/21/13
 1225          NEW CONDENSOR BAY 8                        5/09/14
 1226          NEW A/C DEPT 3                             5/08/14
 1257          ROOF REPAIR PARSONS                        4/15/15
 1265          SEAL & RESTRIPE PARKING LOT                8/13/15
 1271          BARRELL WASH ROOM ADDITION                 10/08/15
 1273          ASPHALT WORK INSHELL PARKING               10/16/15
 1276          BARRELL WASH ROOM ADDITION                 12/14/15
 1277          BARRELL WASH ROOM FLOOR                    12/14/15
 1307          NEW DOORS INSHELL                          11/13/17
 1314          TRENCH DRAIN FOR ALCOHOL ROOM              2/08/18
 1315          ADD FRP TO PLANT RESTROOM WALLS            2/15/18
 1317          FABRICATE FLOOR DRAIN DESTONER ROOM        6/03/18
 1318          NEW DRAINS IN BARRELL WASH ROOM            7/02/18

 Group: COLD STORAGE WAREHOUSE
 1054           REFRIGERATED STG STRUCT                   3/01/82
 1055           COOLER BUILDING                           4/01/86



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 Group: NEW PLANT MACHINERY
 645            1 PC PACKING HOPPER                       4/01/86
 646            2 COOLING BINS W/ FEEDERS                 4/01/86
 649            SET 6 INSP TBL BIN&SUP FW                 4/01/86
 650            DUAL BIN FOR FEED SAN BAS                 4/01/86
 651            10THREE STEP INSP TABLES                  4/01/86
 652            10ADD INSP TABLE MAGNET                   4/01/86
 653            4LEG LENGTH&DECKS CHANGE                  4/01/86
 654            4GA INSP TABLE HOPPER EXT                 4/01/86
 655            1HYDRAULIC TOTE BIN DUMP                  4/01/86
 657            CONVEYOR W/THREE AIRGATES                 4/01/86
 658            22 SCREEN FINAL 1/2 SIZE                  4/01/86
 659            2SIZERSCREEN                              4/01/86
 660            2CYCLONE HEAD FINAL BLOW                  4/01/86
 661            FINAL 1/2 SIZEBLOW STAND                  4/01/86
 662            CENTRIFUGAL STIKTITE BRK                  4/01/86
 663            SET HALF PACKING HOPPERS                  4/01/86
 664            COMPAK NUT ROASTER                        4/01/86
 665            FENCE1985                                 4/01/86
 666            SIMPLEX CONVEY ELEVATOR                   4/01/86
 667            2SIMPLEX CONVEYING ELEVA                  4/01/86
 668            2SIMPLEX CONVEYING ELEVA                  4/01/86
 669            2SIMPLEX CONVEYING ELEVA                  4/01/86
 670            2SIMPLEX CONVEYING ELEVA                  4/01/86
 671            2SIMPLEX CONVEYING ELEVA                  4/01/86
 672            PULLEYS RABBIT EAR CONVEY                 4/01/86
 673            VERTSECTION FOR CONVEYOR                  4/01/86
 674            SIZER SCREEN                              4/01/86
 675            8 RALPHSPUGH                              4/01/86
 676            DUST COLLECTORS                           4/01/86
 677            CAST IRON HOUSING                         4/01/86
 678            #201 DUST COLLECTOR                       4/01/86
 679            FREIGHT ON DUST COLLECTOR                 4/01/86
 680            418IN SHELLER                             4/01/86
 681            2TWO SCREEN SIZER                         4/01/86
 682            2CONTINOUS BUCKET ELEVAT                  4/01/86
 683            2SHELLER NO SUCTION FAN                   4/01/86
 684            CONTINOUS BUCKET ELEVATOR                 4/01/86
 685            CONTINOUS BUCKET ELEVATOR                 4/01/86
 686            INLINE SIZER MODEL                        4/01/86
 688            CONTINOUS BUCKET ELEVATOR                 4/01/86
 689            2CONTINOUS BUCKET ELEVAT                  4/01/86



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 690           2CONTINOUS BUCKET ELEVAT                   4/01/86
 691           CONTINOUS BUCKET ELEVATOR                  4/01/86
 692           2SANITIZER BLOWER PIPE                     4/01/86
 693           MEYER EQUIPMENTFREIGHT                     4/01/86
 695           DRYERPROCTOR SCHWARTZ                      4/01/86
 696           4TWO SCREEN SIZERS                         4/01/86
 697           4ADDITIONAL 9/16IN SCREEN                  4/01/86
 698           1 MEZZANINE                                4/01/86
 699           DUAL LANE CONVEYOR                         4/01/86
 700           FIVE SCREEN INLINE SIZER                   4/01/86
 701           5EIGHT INCH BLOWERS                        4/01/86
 702           BLOWER SUPPORT STAND                       4/01/86
 703           DUALLANE CONVEYOR                          4/01/86
 704           B INDICATORS & BLOW PIPES                  4/01/86
 705           WASHER DESTONER                            4/01/86
 706           4NINE INCH BLOWER                          4/01/86
 707           2DOUBLE HALF BLOW STAND                    4/01/86
 708           CONTINOUS EXTRACTOR                        4/01/86
 709           TEN INCH ELEVATOR                          4/01/86
 710           BARREL LIFT DUMP                           4/01/86
 711           BARREL LIFT DUMP                           4/01/86
 712           2FEEDER HOPPER                             4/01/86
 714           FREIGHT                                    4/01/86
 715           PROC&SCHW HALF DRYER HOPP                  4/01/86
 716           AUGER FLOP GATE CHUTE                      4/01/86
 717           11PAIR CONVEYELEVLEGS                      4/01/86
 718           CATWALK & LADDER ASSEMBLY                  4/01/86
 719           2BLOWSHELL DISCHRG CHUT                    4/01/86
 720           CATWALK&LADDERINSH BINS                    4/01/86
 721           818 GA CHUTES (2) ELEV                     4/01/86
 722           LINER FOR HALF DRYHOPPER                   4/01/86
 723           216GA PROD INPUT HOPPERS                   4/01/86
 724           REMOVE SECTION OF ELEVAT                   4/01/86
 725           STAINLESS STEEL AUGER                      4/01/86
 726           STAINSTEEL SHELL AUGER                     4/01/86
 727           STAND W/LADDER                             4/01/86
 728           ELEVATED FLOAT FEEDHOPP                    4/01/86
 729           2SPIRAL LET DOWN CHUTES                    4/01/86
 730           2SPIRAL LET DOWN CHUTES                    4/01/86
 731           2SPIRAL LET DOWN CHUTES                    4/01/86
 732           PIECE DRYER SPREADER                       4/01/86
 733           4CRACKFEEDER END RISERS                    4/01/86
 734           CATWALK W/O HANDRAIL                       4/01/86



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 735           40SMITH CABLE CLAMP                        4/01/86
 736           2SHEAVES&TAPER LOCK BUSH                   4/01/86
 737           FABRICATE 22 CHUTES                        4/01/86
 738           ELEVATOR INPUT TRANSITION                  4/01/86
 739           ELEVATOR DISCHARGE CHUTE                   4/01/86
 740           DUAL HOPPER EXTENSION                      4/01/86
 741           6ELEVATOR TABLES                           4/01/86
 742           EXTENSIONS ON 2 ELEVATORS                  4/01/86
 744           2REJECT CON&CHUTE SYSTE                    4/01/86
 745           8RIGID PLATE CASTER                        4/01/86
 746           MAUREY SL SHEAVE                           4/01/86
 747           SHEAVE                                     4/01/86
 748           TAPER LOCK BUSHING                         4/01/86
 749           SANITIZER VENT HOOD                        4/01/86
 750           STARITE WATER PUMP                         4/01/86
 751           PUMP TRAP W/STRAINER BSKT                  4/01/86
 752           39ROLLER CONVEY ROLLERS                    4/01/86
 753           VIBRATORY CONVEYOR                         4/01/86
 754           CHUTE ASSEMBLY W/CONVEYOR                  4/01/86
 755           ELEVTO POP REMOVER CHUTE                   4/01/86
 756           OUTSIDE SCREW AUGER                        4/01/86
 758           2PACKING SCALE STANDS                      4/01/86
 759           2RUBBER STAMP TABLES                       4/01/86
 760           4SHELLER OVERRIDE CHUTES                   4/01/86
 761           2CHUTE ASSEMPCS OFF SZR                    4/01/86
 762           2ELEVDISCHGE TO SZR CHU                    4/01/86
 763           CATWALK W/HANDRAIL                         4/01/86
 764           2LONG SPIRAL EASY LETDWN                   4/01/86
 765           2PACK TABLES FOR BOXES                     4/01/86
 766           4WRITING TABLES                            4/01/86
 767           CATWALK W/LADDER                           4/01/86
 768           1 LOT 11 CONVEELEVCOVRS                    4/01/86
 769           SINGLE SYNTRON CONTROLLER                  4/01/86
 770           9INBLOWER INPUT TRANSITION                 4/01/86
 771           9IN BLOWER SHELL                           4/01/86
 772           7DEEP STEEL DUST PANS                      4/01/86
 773           6CHLORINE WASH SHELFS                      4/01/86
 774           HOPPREDUCERSTRIMDIVRTR                     4/01/86
 775           LOWER-LEVEL CATWALK ASSEM                  4/01/86
 776           2SPIRAL LETDOWN CHUTES                     4/01/86
 777           ELEVPRODINPUT HOPASSEM                     4/01/86
 778           STSTEEL RAKE W/48INHANDLE                  4/01/86
 779           PAN W/HANDLE AT EACH END                   4/01/86



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 780           SZR SCREEN RAKE72INT HAND                  4/01/86
 781           9STAINLESS STEEL BOXES                     4/01/86
 782           10 GALV BOXES W/O TOP                      4/01/86
 783           18GA SHAFT COUPLING GUARD                  4/01/86
 784           TWO LANE CONVEYHGHT EXT                    4/01/86
 785           CASTER MOUNTED DUST PAN                    4/01/86
 786           18 GA STEEL INPUT HOPPER                   4/01/86
 787           218 GA DUST HOODS                          4/01/86
 788           FREIGHT                                    4/01/86
 789           2STAINSTEEL WIRE CLOTHS                    4/01/86
 790           2THREE STEP INSP TABLES                    4/01/86
 791           2MAGNET ASSEMBLY                           4/01/86
 792           2INSPTABLE HOPPER EXT                      4/01/86
 793           DESTONER PADDLE WHEEL                      4/01/86
 794           STSTEEL ELEVCHUTE HOOD                     4/01/86
 795           HOT WATER SANITIZER EXT                    4/01/86
 796           HALF DRYER RAKE INTINHANDLE                4/01/86
 797           3STAINSTEEL DUST PANS                      4/01/86
 798           FIVE SCREEN SACK SIZER                     4/01/86
 799           20 CUBIC FTELEVATED HOP                    4/01/86
 801           2AIR & 2OIL FILTERS                        4/01/86
 802           CHUTES FOR SHELLERSEPAR                    4/01/86
 803           SALES TAX ON 1085 EQUIP                    4/01/86
 804           FRGHT ON MACHINERY 12/85                   4/01/86
 805           FREIGHT                                    4/01/86
 806           BUCKET ELEVATOR                            4/01/86
 807           PARTS OF MACHINERY                         4/01/86
 808           REEVES MOTOR BASE                          4/01/86
 809           PARTS FOR MACHINERY                        4/01/86
 810           PARTS FOR MACHINERY                        4/01/86
 812           FREIGHT                                    4/01/86
 813           MOD CHUTE                                  4/01/86
 814           3 CHUTES MOD                               4/01/86
 815           FAB DUST COLLECTING SYST                   4/01/86
 816           FREIGHTPACKAGE CONVEYOR                    4/01/86
 817           FIVE SCREEN STACKABLE SZR                  4/01/86
 818           2PERMANENT MAGNETS                         4/01/86
 819           WORKBENCH W/22193 VISE                     4/01/86
 820           5STAINLESS STEEL BOXES                     4/01/86
 821           2STSTEEL SIZER INTIN RAKE                  4/01/86
 822           POP REMOVER CONVEY/HOPP                    4/01/86
 823           WALL MOUNT SCALE SHELF                     4/01/86
 824           SANITIZER VENT PIPE                        4/01/86



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 825           FREIGHTLOCKERS                             4/01/86
 826           FREIGHTJB SANFILIPPO                       4/01/86
 827           FREIGHTJB SANFILIPPO                       4/01/86
 828           SWECO INCFREIGHT                           4/01/86
 829           THINNER & PAINT FOR CONST                  4/01/86
 830           CHOP SAW BLADER                            4/01/86
 831           PARTS FOR INSHELL ELEVA                    4/01/86
 832           COUPLING                                   4/01/86
 833           REGULATORFITTHOSETAPE                      4/01/86
 834           SCREWSHOLGUN DRILLDRILL                    4/01/86
 835           SCREWS & NUTS                              4/01/86
 836           BOLTSHEXNUTSVALVEWASHR                     4/01/86
 837           SILVERLINE BENCH                           4/01/86
 838           HEAVY CAP PLATFORM SCALE                   4/01/86
 839           FLEXURE BASE 5000#                         4/01/86
 840           PLATFORM SCALE 2000#                       4/01/86
 841           FREIGHT                                    4/01/86
 842           SALES TAX                                  4/01/86
 844           STOOLS FOR PICKING TABLES                  4/01/86
 845           WET HOLDING TANK & ACCESSORIES             4/01/86
 846           55 YARDS CONCRETE                          4/01/86
 847           AUGER FOR NEW SHELL BIN                    4/01/86
 848           2MATIC ADJUSCASE SEALER                    4/01/86
 849           RECTANGULAR FITTING                        4/01/86
 850           8 in x 6 in x 64 in OPEN TOP CHUTE         4/01/86
 851           4BELT GUARDS W/BRACKETS                    4/01/86
 852           HOPPER W/FLAT BAR FLANGE                   4/01/86
 853           METAL FLEXIBLE PIPE                        4/01/86
 854           FABRICA&INSTALLOF EQUIP                    4/01/86
 855           EXHAUST DUCT OFF AIR COMP                  4/01/86
 856           WALL CREW TUBING                           4/01/86
 857           OPEN TOP CHUTESHELL ELEV                   4/01/86
 858           8337 DRUM DOLLIE                           4/01/86
 859           ROLLER CONVEYOR                            4/01/86
 860           BLUEPRINTS & DRAW6CONVEY                   4/01/86
 861           TABLES & CHAIRS FOR LUNCHRM                4/01/86
 862           2 DOUBLE TIER LOCKERS                      4/01/86
 863           FREIGHT ON NEW MACHINERY                   4/01/86
 864           FREIGHT ON EQUIPMEYER                      4/01/86
 865           FREIGHT ON EQUIPMENT                       4/01/86
 866           FREIGHT ON EQUIPMENT                       4/01/86
 867           INSTALLATION CHARGES                       4/01/86
 868           2MODIFY STSTEEL CHUTES                     4/01/86



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 869           BALL VALUESBELL REDUCER                    4/01/86
 870           DRESSER SLEEVESWELD ELLS                   4/01/86
 871           9VOLT BATTPULLEYSSNAPS                     4/01/86
 872           TAXES ON EQUIPFROM MEYER                   4/01/86
 873           MOISTURE METER                             4/01/86
 874           REWORK DIVIDER DRYOVEN                     4/01/86
 875           FREIGHT ON EQUIPMEYER                      4/01/86
 876           FREIGHT ON EQUIPMEYER                      4/01/86
 877           FREIGHT ON EQUIPMEYER                      4/01/86
 878           HEATING/AIR CONDITIONING                   4/01/86
 879           SPECIAL ELECTRICAL                         4/01/86
 880           GRATE                                      4/01/86
 881           MONORAIL                                   4/01/86
 882           PAINT                                      4/01/86
 884           BARREL LIFT DUMP                           6/01/85
 885           INLINE SIZERMEYER                          4/01/85
 888           23STEP INSPTABLES                          8/01/85
 889           SSTEEL ALCOHOL TANK                        4/01/85
 891           WASTE TREATMENT FACILITY                   4/01/86
 892           WHSE UNIT HEATERS (10)                     4/01/86
 893           PROCESS SEWER                              4/01/86
 894           LABOREQUIP INSTALL                         4/01/86
 895           SPECIAL ELECTEQUIP                         4/01/86
 896           EQUIPMENT                                  4/01/86
 898           30IN INSPECT TABLES (2)                    11/01/85
 900           FILING CABINET                             11/01/86
 903           72IN SIGHT PANELS (2)                      1/06/87
 904           NATURAL GAS HEATER                         12/31/86
 905           FILE CABINET                               1/23/87
 908           MACHINE PARTS                              3/15/87
 909           INSTALL PHONE & JACK                       11/18/86
 910           FILE CABINET                               12/08/86
 911           DESK CHAIRS                                12/08/86
 913           FILE CABINET                               12/08/86
 918           JOHNSON LADDER                             4/01/89
 919           VACUMN SEAL & FLT MACH                     4/01/89
 921           CANOPIES FOR BLDG                          4/01/89
 923           COMPRESSOR                                 4/01/89
 929           TENOX MIXING DEVICE                        3/26/90
 931           BARREL LIFT DUMP                           9/13/90
 932           ROTARY AIR LOCK                            9/13/90
 933           DRYER AND CONVEYOR                         10/15/89
 935           SALES TAX BBL LIFT DUMP                    10/15/90



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 936           BARREL LIFT DUMP                           5/15/91
 938           METAL DETECTORS                            11/15/91
 939           TAPE MACHINES (2)                          1/15/92
 940           DRYER NEW PLANT                            4/15/92
 942           STAINLESS STEEL BARRELS                    8/15/93
 943           STEEL HOPPER                               4/01/94
 946           AJAX SHAKER # 0976                         4/01/94
 947           RARE EARTH MAGNET SYSTEM                   4/01/94
 949           4 16' STEEL CHUTES                         4/01/94
 950           AJAX SHAKER # 8822                         4/01/94
 952           2 SIMPLEX CONVEY ELEVATOR                  4/01/94
 954           PARKING LOT LIGHTS                         4/01/94
 955           2 HALFBIN COOLING SYSTEM                   4/01/94
 956           STEEL HEAT EXCHNG & BLOWE                  4/01/94
 957           2 CONVEYOR CHUTES                          4/01/94
 958           SWECO PUMP SYSTEM                          4/01/94
 959           CHAIN LIFT BARRELL DUMP                    4/01/94
 960           AJAX SHAKER # 8284                         4/01/94
 961           CONVERT 2 QUANTZ FRAMES                    4/01/94
 962           STEEL HOPPER & STAND                       4/01/94
 964           AJAX SHAKER # 8938                         4/01/94
 966           STORAGE SHELVING                           4/01/95
 967           HANDWASHER INSHELL RESTRO                  4/01/95
 969           TRASH COMPACTOR                            4/01/95
 970           FREIGHT ON SNA EQUIP                       4/01/95
 971           ELEVATED FEEDER/HOPPER                     4/01/95
 972           2 INSPECTION TABLES                        4/01/95
 974           PLANT EQUIPMENT SNA                        4/01/95
 977           SPRINKLER SYSTEM                           4/01/97
 978           ELEVATORS & STANDS                         4/01/97
 979           TILE & LABOR ROASTING RM                   4/01/97
 980           RF BAR CODING EQUIPMENT                    4/01/97
 981           NUT DICER                                  4/01/97
 982           AIR CONDITION COMPRESSOR                   4/01/97
 983           SEPARATOR UNIT                             4/01/97
 985           COATING TUMBLER                            4/01/97
 986           STAINLESS STEEL BARRELS                    4/01/97
 988           MOISTURE TESTER                            4/01/97
 989           LABORATORY EQUIPMENT                       4/01/97
 990           SIZER SHELLER TABLES ET                    4/01/97
 991           MAGNETS                                    4/01/97
 992           MISC EQUPT FROM R&M AJE                    4/01/97
 994           CAPITALIZED INTEREST '85                   7/01/85



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 997           BINS & STANDS                              4/15/98
 999           3 HOPPERS                                  3/15/98
 1000          EQUIPMENT DOZIER                           3/01/99
 1002          STANDS & EQUIPMENT                         3/01/99
 1003          MISC SHIPPING EQPT                         3/01/99
 1007          NEW FREEZER PANELS                         3/01/99
 1008          FENCE FANS ETC                             3/01/99
 1009          HOPPERS BINS ETC                           3/01/99
 1010          EQPT & FIXTURES REPROCESS                  1/01/99
 1011          MISC EQUIPMENT                             3/01/99
 1012          OVERHEAD DOOR                              4/01/00
 1013          NEW SCALES                                 4/01/00
 1014          LADDER PLATFORM                            4/01/00
 1015          SPRINKLER SYSTEM                           4/01/00
 1016          DRYER                                      4/01/00
 1017          STAIRS & HANDRAILS                         4/01/00
 1018          WIRE MACHINE SHOP                          4/01/00
 1019          REBUILD SV 45                              4/01/00
 1020          FAB STAINLESS GUARDS                       4/01/00
 1021          WIRE NEW MACHINERY                         4/01/00
 1022          INSTALL LIGHTS                             4/01/00
 1023          FABRICATE GUARD                            4/01/00
 1024          MODEL 24 CYCLONE                           4/01/00
 1025          FABRICATE STEEL BOX                        4/01/00
 1026          2 BOHN EVAPORATORS                         4/01/00
 1027          NEW CEILING PANELS FREEZE                  4/01/00
 1028          REBUILD FORKLIFT MOTOR                     4/01/00
 1029          FORKLIFT EQUIPMENT                         4/01/00
 1030          METAL DETECTOR                             4/01/00
 1031          MACHINE SHOP EQUIPMENT                     4/01/00
 1032          2 SATAKE BELT SORTERS                      4/01/00
 1034          MISC EQUIPMENT ITEMS                       4/01/00
 1036          HOBBS FABRICATE CHUTES                     4/01/01
 1037          HOBBS STAINLESS ST ELEVAT                  4/01/01
 1038          AIRLOCK EQUIPMENT                          4/01/01
 1039          RANDY WIRING & NEW LIGHTS                  4/01/01
 1040          HOBBS NEW EQUIPMENT                        4/01/01
 1041          RANDY WIRING & NEW LIGHTS                  4/01/01
 1042          NEW AC UNITS FOR OFFFICE                   4/01/01
 1043          RANDY WIRING NEW EQUPT                     4/01/01
 1044          HOBBS FABR NEW EQUPT                       4/01/01
 1045          ACCUCORP SCALE                             4/01/01
 1046          PALLET LIFT TRUCK                          4/01/01



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 1049          MISC EQUIPMENT                             4/01/01
 1050          VACUUM PACKAGING MACHINE                   4/01/06
 1051          SHIPPING DEPT PRINTER                      4/01/06
 1052          RUSCO PACKAGING MACHINE                    3/31/07
 1066          WIFI ACCESS POINTS IN PLANT                12/29/08
 1068          WIFI IN PLANT/MOTOROLA BARCODE             2/25/09
 1070          MOTOROLA BAR CODE READER                   3/25/09
 1082          NEW CONDENSOR FOR BAY 5                    9/14/09
 1110          NEW COMPRESSOR BAY 5                       10/15/10
 1115          UPGRADES TO OLD SATAKES                    10/31/10
 1125          2 NEW METAL DETECTORS                      3/31/11
 1126          KAISER - AIR SUPPLY PIPE                   1/31/11
 1128          ROYAL FLUSH NEW SINKS                      1/31/11
 1136          VIDEO JET LABEL PRINTERS                   4/11/11
 1139          MOTOROLA COMPUTERS QUEST                   6/15/11
 1144          AIR COND UNIT AREA WIDE                    8/15/11
 1145          USED EQPT - SOUTHERN NUT/PECANS.COM        8/30/11
 1148          INSTALL SHELLERS                           9/14/11
 1165          ALARM SYSTEM FOR AIR COMPRESSORS           12/07/11
 1175          3 ZEBRA LABEL PRINTERS                     7/25/12
 1178          CONDENSOR FOR BAY 7                        8/21/12
 1179          SS DUCTWORK FOR DRYER                      8/15/12
 1180          BUHLER SORTEX SORTER                       8/31/12
 1182          FIRE PROTECTION IN DRYER DUCTS             8/30/12
 1190          SPRINKLE DEPT 8 DRYER                      11/07/12
 1193          LABEL APPL/PRINTER                         11/30/12
 1197          15 HP CONDENSOR BAY 6                      1/15/13
 1201          REFRIG UNIT BAY 8 #17                      3/14/13
 1205          4 BOX LABEL PRINTERS                       5/01/13
 1206          DUCTWORK ON DEPT 8 DRYER                   6/01/13
 1224          BEST SORTING MACHINE                       8/01/14
 1229          CONVEYOR AND HOPPER FOR BEST MACHINE       8/01/14
 1234          TRANSFORMER & PANELS DEPT 7                8/22/14
 1239          ELECTRICAL FOR BEST SORTER                 9/29/14
 1243          FREIGHT ON BEST SORTER                     11/18/14
 1249          NEW DOCK PADS                              12/31/14
 1262          NEW AIR COND NEW PLANT                     6/01/15
 1283          BARRELL DUMP DEPOSIT                       4/22/16
 1284          CHANGE OUT A/C UNIT #13                    4/04/16
 1287          TRANE AC UNIT WITH HEAT                    5/13/16
 1288          NEW METAL DETECTOR                         6/28/16
 1292          NEW BARREL DUMPER                          9/27/16
 1310          USED 5 SCREEN SIZER                        10/18/17



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 1313           NEW BARRELL DUMPER                        2/01/18
 1319           NEW BARRELL DUMPER                        7/10/18
 1332           1 NEW AMVT SORTER                         8/29/20
 1336           AIRLINES FOR NEW SORTERS                  7/01/20
 1338           SATAKE SORTERS                            8/01/20
 1339           NEW DOCK LEVELER                          8/23/20
 1341           NEW CRACKERS MODERN ELECTRONIC            9/01/21
 1342           TOMRA LASER SORTER                        11/19/21
 1344           SATAKE SORTER                             12/31/21

 Group: OFFICE & DATA EQUIPMENT
 76              MINI BLINDS                              4/01/86
 85              CREDENZA                                 12/01/85
 86              LAMP TABLE                               12/01/85
 87              LANDSCAPE SCREEN                         11/01/85
 88              FILE CABINET                             11/01/85
 89              FILE & STORAGE CABINET                   11/01/85
 90              WALNUT BOOKSHELF                         11/01/85
 91              3 INWOOD DESKS                           11/01/85
 92              SECRETARIAL INWOOD DESK                  11/01/85
 93              3 30X48 COMPUTER DESKS                   11/01/85
 94              30X60 COMPUTER DESK                      11/01/85
 96              DISPLAY SHELVES&BINSRETL                 11/01/85
 97              DISPLAY RACKS&BINSRETAIL                 11/01/85
 98              3 POSTURE CHAIRS                         12/01/85
 100             METAL STORAGE RACKSOFFIC                 12/01/85
 101             SALES TAX ON RETAIL EQUIP                12/31/85
 104             4 FOLDING TABLES                         4/08/86
 105             OFFICE FURNITURE                         4/30/86
 107             CHAIR SIDE FILE                          5/05/86
 108             DATA RACK                                5/05/86
 111             TYPEWRITER                               6/20/86
 112             FILE/DATA RACK                           6/19/86
 113             MINI BLINDS                              6/25/86
 114             OFFICE FURNITURE                         7/01/86
 115             HEATING/AIR CONDITOFFICE                 4/01/86
 116             HEATING/AIR COND RETAIL                  4/01/86
 118             FURNFIXTURES & OFFEQUIP                  7/01/78
 119             OFFICE FURNITURE                         3/31/79
 120             OFFICE FURNITURE                         3/31/79
 121             OFFICE FURNITURE                         5/21/79
 122             OFFICE FURNITURE                         6/01/79
 123             OFFICE FURN & EQUIPMENT                  12/31/79



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 124           OFFICE FURNITURE                           2/28/80
 126           OFFICE EQUIPMENT                           11/11/80
 127           CABINETS OFFICE                            12/10/80
 128           CALCULATORS & CHAIRS                       12/07/81
 129           TYPEWRITER                                 12/08/81
 131           MORTON'S OFFICE FURNITURE                  6/22/82
 132           MORTON'S OFFICE FURNITURE                  6/22/82
 133           2 DESKS CHAIR/TYPE TABLE                   4/01/83
 134           IBM SELECTRIC TYPEWRITER                   6/01/83
 140           IBM SELECTRIC II TYPEWRIT                  11/01/84
 141           2 DESKS                                    12/01/84
 142           CHAIR                                      12/01/84
 143           TABLE HASCO 600                            12/01/84
 147           NEW FILE CABINET                           3/01/85
 148           IBM WHEELWRITER TYPEWRITE                  3/01/85
 149           FILE CABINET                               4/01/85
 150           DESK 2 CHAIRS & MATS                       4/01/85
 153           DESK CHAIR & CHAIR MAT                     7/01/85
 154           IBM TYPEWRITERWHEELWRITE                   8/01/85
 155           TABLE                                      8/01/85
 157           EXHIBIT BOOTH                              9/01/85
 158           SIGN                                       10/15/86
 159           EQUIPMENT                                  11/01/86
 162           FILE CABINET                               2/09/87
 164           FILE CABINET LEGAL SIZE                    3/04/87
 165           TABLE BREAKROOM                            3/04/87
 166           STORAGE CABINET                            3/04/87
 167           SIDEARM CHAIRS (3)                         3/04/87
 168           DESK CHAIR DRAFT TABLE                     4/01/88
 170           LATERAL FILE CABINET                       4/01/88
 174           LATERAL FILE CABINET                       4/01/88
 175           IBM WHEELWRITER TYPEWRTER                  4/01/89
 177           DESK & COMPUTER TABLE                      4/01/89
 178           CHAIRS FILE CABINET                        4/01/89
 188           PORTABLE DISPLAY BOOTH                     10/15/92
 190           SECRETARIAL DESK                           2/15/93
 191           LATERAL FILE CABINET                       2/15/93
 192           OFFICE PARTITIONS                          2/15/93
 193           IBM SELECTRIC II                           5/15/93
 196           VIDEO TAPE FOR SHOWS                       9/15/93
 197           VIDEOTAPE                                  4/01/94
 199           IBM TYPEWRITER & STAND                     4/01/94
 206           OFFICE STORAGE SHELVES                     4/01/94



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 208           CHAIRS FOR CONF ROOM                       4/01/95
 209           CABINETS & SINK CONF ROOM                  4/01/95
 210           TABLE FOR CONF ROOM                        4/01/95
 212           TV & VCR FOR CONF ROOM                     4/01/95
 215           INSTALL PARTITIONS                         4/01/96
 1081          COMPUTHINK VIEWWISE SOFTWARE               8/15/09
 1088          NEW PHONE SYSTEM - CUSTOM TEL              5/27/10
 1168          HP NETWORK SWITCHES                        4/02/12
 1198          BARRACUDA LINK BALANCER                    1/15/13
 1253          WEBSITE DEVELOPMENT                        1/15/15
 1255          NOVA TIME CLOCKS & SOFTWARE                2/28/15
 1272          DELL SERVER                                10/02/15
 1280          NEW DELL SERVER                            2/12/16
 1289          IBM RS 6000 SERVERS                        8/18/16
 1326          NEW AC RETAIL STORE                        1/06/20
 1337          ACCESS POINTS AND SWITCHES                 7/31/20

 Group: OLD PLANT MACHINERY
 229            HYDRAULIC DUMPER                          11/01/77
 230            PECAN HOPPER                              11/01/77
 232            INFEED INSHELL CONVEYOR                   11/01/77
 233            ELEVATOR                                  11/01/77
 234            ELECTRIC CONTROL PANEL                    11/01/77
 235            STEEL BIN HOLDING SYSTEM                  11/01/77
 236            CONVEYORS2                                11/01/77
 237            PECAN GRADER                              11/01/77
 238            DESTONER SYSTEM                           11/01/77
 239            DESTONER CONTROL PANEL                    11/01/77
 240            ELEVATORS2                                11/01/77
 241            ELEVATORS2                                11/01/77
 242            ELEVATORS2                                11/01/77
 243            ELEVATORS2                                11/01/77
 244            ELEVATOR                                  11/01/77
 245            INSHELL PECAN HOPPER                      11/01/77
 246            INSHELL PECAN HOPPERS2                    11/01/77
 247            PECAN FEED HOPPER                         11/01/77
 248            AUTOFEED CONVEYORS 2                      11/01/77
 251            VF2 SCREEN SIZERS [2]                     11/01/77
 252            AIR SEPARATOR UNITS 8                     11/01/77
 253            CONTINUOUS DRYER /COOLER                  11/01/77
 254            COLLECTOR CONVEYOR                        11/01/77
 255            SHELLING PLANT BAY                        11/01/77
 256            VF2 SCREEN SIZER                          11/01/77



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 257           AIR SEPARATOR UNITS 2                      11/01/77
 258           STAINLESS HOPPERS 2                        11/01/77
 259           BARREL DUMP 2                              11/01/77
 261           SETTLING TANK 3                            11/01/77
 262           CABINET TYPE DRYER                         11/01/77
 263           ELEVATOR                                   11/01/77
 264           HOPPERS 2                                  11/01/77
 265           BARREL JUMP                                11/01/77
 266           FEED HOPPERS 2                             11/01/77
 269           AIR CONVEYING SYSTEM 3                     11/01/77
 270           DRYER                                      11/01/77
 272           BUCKET ELEVATORS                           11/01/77
 275           WATER COOLER                               11/01/77
 277           SCALE                                      11/01/77
 278           SCALE                                      11/07/77
 279           SCALE                                      11/01/77
 280           INTERNA`L WEIGHT SCALE                     11/01/77
 281           MASTER CONTROL PANEL                       11/01/77
 282           SHELL MOTOR                                1/01/78
 283           HYD LIFT                                   1/01/78
 284           SIZER SCREEN                               1/01/78
 285           SCALE                                      2/01/78
 286           CASEBEARER REMOVAL UNIT                    3/01/78
 287           CISCO STOOLS                               4/01/78
 288           AUREX BELT ASSEMBLY                        4/01/78
 289           ELECTRIC RANGE                             7/01/78
 290           M2 US ELEC REDUCERS                        8/01/78
 291           PLATE SEC/PIECE DRYER22                    3/01/78
 292           SAW BAND                                   3/01/78
 293           DRILL PRESS                                3/01/78
 294           WELDING TABLE                              3/01/78
 295           VALVE FOR FLOATER                          4/01/78
 296           COASTER WHEELS 112                         5/01/78
 297           SIGN                                       12/01/77
 299           LIFT STATION                               1/01/77
 300           PALLETS                                    1/01/77
 301           WATER METER                                1/01/77
 302           MILITARY SHEET METAL                       1/01/78
 303           MV FLEX SIZER NUT POCKET                   3/01/78
 304           MEYER SHELLER AS1819R                      1/01/78
 305           INSTALLATION EXPENSE                       1/01/78
 306           COOLER EQUIPMENT                           1/01/78
 307           MACH DEPOSIT                               10/31/78



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 308           INSTALLATION                               10/31/78
 309           INSTALLATION                               11/30/78
 310           INSTALLATION                               12/31/78
 313           RYERSON AND MCMEEKIN                       1/01/79
 314           ELEVATOR                                   1/01/79
 315           PLASTIC STRIP CURTAIN                      2/28/79
 317           INSTALLATION                               3/31/79
 319           EXHAUST FAN & ROOF FAN                     3/31/79
 320           SSTEEL HOPPER EXTEN3                       5/21/79
 321           PALLET BOXES 150                           5/18/79
 322           TWO SCREEN STACK SIZER 2                   5/21/79
 323           VERTICAL CONT DRYER/COOL                   5/21/79
 324           STOOLS 10                                  5/21/79
 325           SET OF WRENCHES (11)                       5/21/79
 326           DODGE PILLOW BLOCKS 4                      6/12/79
 327           LOVEJOY COUPLING                           6/12/79
 328           5/8INSTEEL COLLAR WOODS10                  6/12/79
 329           GRAVEL FOR PARKING LOT                     6/12/79
 330           INSTALLATION                               6/12/79
 331           INSTALLATION OF EQUIP                      6/12/79
 332           INSTALLATION OF EQUIP                      6/01/79
 334           200' SURE LINK BELTING                     7/11/79
 335           9INBLOWER W/MOTOR                          7/11/79
 336           TUBES 3                                    7/11/79
 337           TUBES                                      7/13/79
 338           COOLER                                     7/26/79
 339           PANS4/ANGLES/FEEDER SEC                    8/07/79
 340           USED ENGINE                                8/29/79
 341           ENGINE                                     9/06/79
 344           TOP WIDTH TABLETOP CHAIN                   9/16/79
 345           VERT/DRYER & INSP TABLE                    9/30/79
 346           STAINLESS STEEL HOPPER                     9/30/79
 348           ANGA3613/HR STRIP 105                      9/30/79
 349           RYER EXP METAL SHT FLATT                   9/30/79
 350           VERTICAL SECTION                           9/30/79
 352           SIMPLEX CONV ELEVATOR                      9/30/79
 353           SIMPLEX CONV ELEVATOR                      9/30/79
 354           SIMPLEX CONV ELEVATOR                      9/30/79
 355           2050 VSPD PULLEY/ACCESS                    9/30/79
 356           MOTORS/4SBLADES/6PULL2                     9/30/79
 357           NEW PLUMBING                               10/30/79
 358           FENCE ON GROUNDS                           10/31/79
 360           BREAK ROOM FURNITURE                       11/30/79



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 361           EQUIPMENT                                  12/31/79
 362           INSTALLATION                               11/30/79
 363           OFFICE IN WAREHOUSE                        1/31/80
 365           MACHICE                                    3/31/80
 366           EQUIPMENT                                  5/06/80
 367           INSTALLATION                               5/06/80
 368           LUNCHROOM FURNITURE                        6/05/80
 369           MACHINERY                                  6/30/80
 370           PUMP FOR SEWER SYSTEM                      9/02/80
 371           STOOLSFINISH ROOM                          9/02/80
 373           STEEL DUAL BIN                             7/25/80
 374           HOIST 1TON                                 8/01/80
 375           TOOTH HD BLADES 18                         8/01/80
 376           3/8 DRIMPACT SOCK SET                      8/01/80
 377           4 TUBE HREW STRUCTA500B                    8/08/80
 378           5 TUBE HREW STRUCTA500B                    8/08/80
 379           4 TUBE HREW STRUCTA500B                    8/08/80
 380           ANG HR A361X1X1 (40)                       8/08/80
 381           ANGA36 L3X2X3/16 (4)                       8/08/80
 382           HR A36 3/8X3FLTX61/2IN15                   8/08/80
 383           HR A36 3/8X4FLT                            8/08/80
 384           HR A36 3/8X6FLTX8IN (5)                    8/08/80
 385           TUBE HREW STRUCT(5)A500B                   8/08/80
 386           TUBE HREW STRUCT(2)A500B                   8/08/80
 387           TUBE HREW STRUCT(2)A500B                   8/08/80
 388           PERFORATED SHEETS (2)                      8/08/80
 389           HR SHEET (20)                              8/08/80
 390           TAKE AWAY PAN                              8/08/80
 391           TUBE HR WELD (14)                          8/08/80
 392           TUBE HR WELD (6)                           8/08/80
 393           TUBE HR WELD (8)                           8/08/80
 394           TUBE HR WELD (8)                           8/08/80
 395           TUBE HREW STRUCTA500B                      8/08/80
 396           MACHINERY                                  8/18/80
 397           MACHINERY                                  8/18/80
 398           MACHINERY                                  9/02/80
 399           3 STEP INSPECTABLE (3)                     9/05/80
 400           2 SCREEM SIZE SERIAL                       9/05/80
 402           ILS30X30LINE SIZER SCR                     9/22/80
 403           26 GUAGE CHUTE EXTENSIONS                  9/27/80
 404           MACHINERY                                  9/22/80
 405           MODEL 6914 PIECE SHELLER                   10/08/80
 406           EXTENSION SUCTION                          10/08/80



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 407           SIMPLEX CONV ELEVATOR                      10/08/80
 408           PARTS FOR NEW MACHINERY                    10/08/80
 409           STAINLESS STEEL SCALE                      10/24/80
 410           PARTS FOR NEW MACHINERY                    10/28/80
 411           MACHINERY                                  11/08/80
 412           MACHINERY                                  12/03/80
 413           MACHINERY                                  12/23/80
 414           MER55 BARREL FLOAT                         1/28/81
 415           INLINE SIZER                               1/28/81
 416           EIGHT INCH BLOWERS (8)                     1/28/81
 417           DUAL LANE CONVEYOR                         1/28/81
 418           STAND FOR MOUNTING BLOWER                  1/28/81
 419           MACHSALVAGE DEPT                           2/10/81
 420           BAG SEALER                                 1/28/81
 421           SPIN BASKET                                5/22/81
 422           INSTALLATION                               6/16/81
 423           30 ANGLE RINGS                             6/26/81
 424           INSTALLATION                               6/30/81
 425           SSTEEL DUAL BIN                            9/01/81
 426           PALLETS                                    8/01/81
 427           SWIVEL PLATE COSTERS 100                   8/01/81
 430           BENCH SCALE                                12/07/81
 432           ELEVATOR                                   12/23/81
 433           CORSICANA SHEET METAL                      7/21/82
 435           MISC EQUIP                                 8/26/82
 436           MISC EQUIP ROASTER                         9/30/82
 437           INSHELL HOLDING BIN                        9/30/82
 438           FEEDER CONVEYOR                            9/30/82
 439           DUAL LANE CONVEYOR                         9/30/82
 440           ELEVATOR HOPPER FEEDER                     9/30/82
 441           EIGHT INCH BLOWER                          9/30/82
 442           FREIGHT ON EQUIP                           9/30/82
 443           HOT WATER SANITIZER                        9/30/82
 444           TABLE DESKS 2                              10/01/82
 446           MISC EQUIPMENT                             11/01/82
 447           FREIGHT ON NEW MACH                        12/01/82
 448           ROASTER                                    12/01/82
 449           FREIGHT ON MACH                            12/01/82
 450           INSHELL GRADER                             1/01/83
 452           FREIGHT ON MACH                            1/01/83
 454           FREIGHT ON MACH                            2/01/83
 455           SSTEEL HOLDING BIN                         2/01/83
 457           HOT WATER HUMIDIFIER/TANK                  1/01/83



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 458           INSTALL WIRE / MISC                        4/01/83
 459           EXHAUST FAN                                6/01/83
 460           HOTWASHER EQUIP                            6/01/83
 461           INSTALL/SEPTIC TANK/EQUIP                  6/01/83
 462           INSTALLATION OF EQUIP                      6/01/83
 467           INLINE SIZER/SCREENS                       7/01/83
 468           4INCH ELEVATOR/FREIGHT                     7/01/83
 470           SIMPLEX CONV ELEVATOR                      8/01/83
 471           WATER COOLER/INSTALLATION                  8/01/83
 472           CONTDBUCKET ELEVATOR                       9/01/83
 473           1/3HP AUTO SUMP PUMP                       9/01/83
 475           SIGN ON BLDG                               9/01/83
 476           WET GRAIN HOLDING TANK                     8/01/83
 477           GRADING SYSTEM/MISC                        9/01/83
 478           GRADING SYSTEM 7 CHUTES                    9/01/83
 479           INSTALLSIZER & ELEVATOR                    9/01/83
 480           STEEL VENT HOOD                            7/01/83
 481           BARREL LIFT DUMP                           7/01/83
 482           DUAL BIN                                   7/01/83
 483           VIBRATORY CONVW/AIR GATE                   7/01/83
 484           HOPPER                                     7/01/83
 485           FEEDER CONVEYOR                            7/01/83
 486           MAGMET ASSEMBLY                            7/01/83
 487           SIZER STAND/HOPPER                         7/01/83
 488           ELEVATOR SPLITTER CHUTE                    7/01/83
 489           SUPPORTING LEGS (SIZER)                    7/01/83
 490           FREIGHT ON MACH                            9/01/83
 491           INSTALL EXHAUST HOODS                      7/01/83
 492           HYDRAULIC TOTE BIN DUMPER                  10/10/83
 493           FREIGHT ON MACH                            10/10/83
 494           MEYER PECAN GRADER                         11/01/83
 495           P40 FORKLIFT                               10/01/83
 496           CONT BUCKET ELEVATOR                       12/01/83
 497           STAR FILTER PRESS                          4/01/84
 498           BASKET STRAINER                            6/01/84
 499           FREIGHT ON MACH                            1/01/84
 500           REFRIGERATOR (TRAILER)                     3/01/84
 501           AJAX SHAKER                                4/01/84
 502           SYNCROGEAR REDUCER 2                       5/01/84
 503           SIZER SCREEN                               5/01/84
 504           DECK SIZER SCREEM                          5/01/84
 505           STEEL TROUGH COVER                         5/01/84
 506           STAINLESS STEEL RAKE                       5/01/84



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 507           LITLON ROLLER CONV 2                       5/01/84
 508           SSTEEL VENTING DUCT                        7/01/84
 509           BLOWER FOR COOLING TABLE                   7/01/84
 510           AIR COOLED;COMPRESSOR                      3/01/84
 511           INSTALLAIR COMPRESSOR                      4/01/84
 512           FREIGHT ON MACHINERY                       6/01/84
 514           REPAIR & RESHEET W/SS                      4/01/84
 515           GRADER/REWORK GRADER                       3/01/84
 516           3STEP INSP TABLES 2                        9/01/84
 517           TABLE HOPPER EXTEN 2                       9/01/84
 518           STERILIZATION CHAMBER                      9/01/84
 519           BARREL LIFT DUMP                           9/01/84
 521           BARREL LIFT DUMP                           9/01/84
 522           DOUBLE BLOWER                              9/01/84
 523           DOUBLE BLOWER                              9/01/84
 524           HOOPER FEEDER                              9/01/84
 525           NEW MACH SCREW CONVCORP                    5/01/84
 526           FIRE EXTINGUISHER EQUIP                    7/01/84
 527           SETTING INSHELL GRADER                     12/01/83
 528           INSTALL CONVEYOR                           2/01/84
 529           FREIGHT ON MEYER MACH                      2/01/84
 530           INSTALLATION GAS CHAMBER                   7/01/84
 531           FREIGHT ON MACH PUMP VAC                   10/01/84
 532           PB SUBMERSIBLE PUMP                        11/01/84
 533           SYNCROGEAR REDUCER 2                       11/01/84
 534           WEIGH TRONIX BENCH SCALE                   11/01/84
 535           WEIGH TRONIX DECK SCALE                    12/01/84
 536           FREIGHT ON MACH                            2/01/85
 537           INGREDIENT BIN                             5/01/85
 539           FREIGHT ON MACH                            6/01/85
 540           WORK TABLE/ROASTING ROOM                   6/01/85
 541           SSTEEL BOXES 10                            6/01/85
 542           CONT D ELEV BUCKET                         5/01/82
 543           CONVEYOR                                   5/01/82
 544           RACK INST & FREIGHT                        5/01/82
 545           RACKS                                      3/01/83
 546           RACKS                                      4/01/83
 547           INSTALLATION OF EQUIP                      6/01/83
 548           FREIGHT ON NEW MACH                        9/01/84
 549           FREIGHT ON MACH                            7/01/85
 550           CSTEEL METAL/MISCEQUIP                     7/01/85
 553           SVP 6030 BAILER                            4/01/88
 558           FIRE SPRINKLER SYSTEM                      4/01/88



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 559           LEWIS CARTER CONVEYOR                      4/01/89
 560           LEWIS CARTER CONVEYOR                      4/01/89
 571           HANDWASHER                                 2/15/91
 572           BARREL LIFT DUMP                           2/15/91
 573           FENCE INSHELL RECEIVING                    5/15/91
 575           18IN MEYER DIAL SHELLER                    9/15/91
 576           NEW SCALE FOR LAB                          9/15/91
 580           AJAX FLOAT                                 1/15/92
 581           BASKET SCALE                               2/15/92
 582           HOT WATER HEATER                           4/15/92
 583           BLOWERS                                    5/15/92
 584           HOPPERS                                    5/15/92
 585           INSHELL SCALE                              7/15/92
 586           INSHELL SIZING SYSTEM                      9/15/92
 587           HOIST                                      9/15/92
 588           PUMPS & SEPARATOR WASTE P                  1/15/93
 590           DRY MATERIAL FEEDER                        4/15/93
 591           STAINLESS STEEL BARRELS                    4/15/93
 592           INSPECTION TABLE                           5/15/93
 593           AJAX SHAKER                                6/15/93
 594           NEW FRONT SIGN                             7/15/93
 595           SPRAY TUMBLER                              7/15/93
 596           CONVERSION FRAME 4 QUANTZ                  7/15/93
 597           MEYER 32' INSHELL SIZER                    7/15/93
 599           MEYER BUCKET ELEVATORS                     7/15/93
 600           AJAX SHAKER                                7/15/93
 601           MEYER 32' INSHELL SIZER                    8/15/93
 603           10IN ADJACK                                8/15/93
 604           PECAN SHELLER                              9/15/93
 605           3 COMPARTMENT SINK                         2/15/93
 606           AUTO DOORS FOR STORAGE                     8/15/93
 607           INSHELL GRADER REBUILT                     4/01/94
 608           VACUUM PACKAGING MACHINE                   4/01/94
 610           EQUIPMENT                                  4/01/95
 612           USED FORKLIFT                              4/01/96
 613           ELECTRONIC SCALE                           4/01/96
 619           BINS & EQUIPMENT                           4/01/96
 620           ELEVATORS & EQUIPMENT                      4/01/96
 621           REFRIGERATION EQUIP                        4/01/96
 622           AIR COMPRESSORS FOR BAY 1                  4/01/96
 623           TOTE BOXES & FRT                           10/15/97
 625           STAINLESS STEEL BARRELS                    3/15/98
 627           TRANE AIR CONDITIONER                      4/15/98



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 629           REFRIGERATION EQUIPMENT                      6/15/98
 632           INSHELL GRADER PARTS                         6/15/98
 633           RARE EARTH MAGNETS                           8/15/98
 634           STENCIL MACHINE                              5/01/98
 635           SATAKE BELT SORTER                           6/15/98
 636           STAINLESS HOPPER                             3/15/98
 638           MISCELLANEOUS EQUIPMENT                      3/15/98
 639           INSTALLATION OF EQUIP                        7/01/99
 640           TABLES ROASTER DRAIN PAN                     11/15/06
 641           FIRE HYDRANTS SPRINLER S                     11/15/06
 642           MOTOROLA BASE & RADIOS                       12/19/06
 643           NEW SCALE                                    6/26/07
 644           ELECTRIC NEW GATE COMPR                      9/15/07
 1059          PECAN SHAKER WATER SEPARATOR (2)             10/31/07
 1060          ELECTRONIC GATE - INSHELL                    11/30/07
 1061          SPRINKLER FLUSHING NEW FOAM INSHELL COOLER   12/31/07
 1063          SAFELINE METAL DETECTOR                      8/27/08
 1065          TRUCK SCALE INDICATOR/PRINTER                11/04/08
 1067          ASPHALT PAVING INSHELL ENTRANCE              12/03/08
 1072          REBUILD BATCH ROASTER                        4/30/09
 1073          SAFELINE METAL DETECTOR                      9/01/09
 1074          WIRELESS ACCESS POINTS                       6/29/09
 1075          SCISSOR LIFT TRUCK                           6/29/09
 1076          UPGRADE FIRE ALARM SYSTEM                    6/18/09
 1077          FLOOR SCRUBBER - TENNANT                     7/31/09
 1078          WI FI RADIOS & EQPT                          7/08/09
 1079          PIN TUMBLER SOUTHERN NUT N TREE              7/31/09
 1080          OVERHEAD DOORS IN PLANT                      8/15/09
 1083          NEW ENERGY EFFICIENT LIGHTS RANDYS           2/13/09
 1084          REBUILD BATCH ROASTER                        11/11/09
 1085          SOUTHERN NUT & TREE                          11/20/09
 1095          8 USED TOYOTA FORKLIFTS                      6/15/10
 1101          NEW METAL DETECTOR                           10/31/10
 1104          PLUMBING - BARREL WASH                       9/15/10
 1106          NEW FENCING - ANNEX PROP                     5/01/10
 1108          NEW CONDENSER BAY 5                          6/01/10
 1109          3 NEW COMPRESSORS SHIPPING                   6/01/10
 1111          SCALE INDICATORES - TEMP TANKS               10/15/10
 1112          NEW PALLET JACKS                             10/15/10
 1113          BARRELL WASHER EQUIP                         10/25/10
 1114          JOHNSON EQUIP                                10/27/10
 1116          NEW SCISSOR LIFT                             11/16/10
 1119          BARRELL WASH JOHNSON LOPEZ                   12/27/10



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 1120          SALT MACHINE                               3/31/11
 1121          RANDYS ELEC/LOPEZ                          12/31/10
 1122          ROYAL FLUSH PLUMBING                       1/13/11
 1123          USED SHELL TRUCK                           1/17/11
 1124          AREA WIDE COMPRESSORS                      1/19/11
 1127          RANDYS ELECTRIC WIRING                     1/31/11
 1129          JAMES MFG - GUARDS FOR MOTORS              1/31/11
 1130          PAINTING & CONTRUCTION                     2/28/11
 1131          INSHELL PARKING LOT                        3/31/11
 1132          NEW AIR COMPRESSORS                        3/31/11
 1137          2 USED FORKLIFTS                           6/03/11
 1138          4 SAVAGE SHELLERS                          6/30/11
 1140          COMPRESSORS - BAY 5 AREA WIDE              7/15/11
 1141          NEW PLUMBING FIXTURES                      7/18/11
 1142          FIRE ALARM STROBES ACTION                  7/18/11
 1143          BARRICADES FOR EQUIPMENT LOPEZ             7/27/11
 1146          INTAKE FAN DUCTWORK CORS A/C               8/10/11
 1147          ELECTRICAL WORK - RANDY                    8/15/11
 1149          AREA WIDE/KAISER                           9/23/11
 1150          LOPEZ CARPENTRY                            9/28/11
 1154          LOCKOUT TAGOUT DISCONNECT BOXES RANDY      3/01/11
 1158          FABRICATE CHUTES/CATWALKS                  10/15/11
 1159          RANDY'S - NEW WIRING                       10/15/11
 1160          OUTDOOR CURTAIN FOR AIR COMPRESSORS        10/15/11
 1161          FABRICATE CHUTES & CATWALKS                11/15/11
 1162          NEW COMPRESSOR FOR BAY 2                   11/01/11
 1164          CONCRETE SLAB - HA PAIR                    12/28/11
 1166          SURGE PROTECTOR AIR COMPRESSORS            3/06/11
 1167          ACTION FIRE STROBES/HORNS                  4/16/12
 1169          BUILD WALL FOR AIR COMPRESSORS             4/10/12
 1170          NEW REFRIGERATION COMPRESSORS              4/24/12
 1171          LOPEZ FENCING NEW DOORS                    4/30/12
 1172          USED EQUIP - TOMS AUCTION                  5/02/12
 1173          NEW COMPRESSORS - AREA WIDE                5/31/12
 1174          AIR COMPRESSOR PIPING                      7/16/12
 1176          FENCE & CLEAR NEW LOT                      7/26/12
 1177          REFRIGERATION COMPRESSORS                  7/15/12
 1181          NEW REFRIG UNITS FOR SHIP COOLER           9/20/12
 1185          NEW CONDENSOR BAY 2 #33                    10/17/12
 1186          NEW EXHAUST & INTAKE DEPT 1 DRYER          10/19/12
 1187          JACKRABBIT STEEL FOR DUMPER                10/30/12
 1191          2 ELECTRIC AUGERS                          11/27/12
 1192          TOYOTA FORKLIFT                            11/23/12



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 1194          TOYOTA PALLET JACK                         12/11/12
 1195          4 EYEWASH STATIONS                         12/14/12
 1196          SPRINKLERS IN DRYER #3                     12/27/12
 1199          POWER UNIT FOR DUMPER                      1/09/13
 1200          NEW EVAPORATOR COIL BAY 2                  2/13/13
 1202          NEW DUCTWORK ON DRYER                      3/01/13
 1203          TENNANT FLOOR SCRUBBER                     4/15/13
 1204          SPRINKLER HEADS IN DRYER VENTS             5/01/13
 1207          REBUILD INSHELL GRADER                     6/14/13
 1209          3 NEW CONDENSOR/EVAPORATORS                8/01/13
 1210          NEW CONDENSOR/EVAPORATOR                   8/01/13
 1212          FIRE SYSTEM ROASTING ROOM                  8/31/13
 1213          NEW CONDENSOR EVAPORATOR                   9/16/13
 1215          NEW CONDENSOR & EVAPORATOR BAY 2           10/14/13
 1216          REBUILD INSHELL GRADER                     11/01/13
 1217          HOISTS AND TROLLEYES FOR INSHELL GRADERS   11/06/13
 1218          1992 FRUEHAFF TRAILER                      12/11/13
 1219          FIRE SYSTEM ROASTING AND ALCOHOL ROOMS     12/18/13
 1220          CONTROLLER FOR BOX PRINTERS                12/06/13
 1221          USED 53' TRAILER                           1/10/14
 1222          FIRE SYSTEM ROASTING ROOM                  3/15/14
 1223          ERIEZ MAGNETS                              4/15/14
 1227          USED CENTRIFUGE                            5/02/14
 1230          1 TON HOIST FOR CENTRIFUGE                 5/28/14
 1231          MEAL GRINDER - INCUS SPAIN                 6/30/14
 1232          NEW ROOF AIR OVER STORAGE AREA             7/01/14
 1233          ELECTRICAL FOR CENTRIFUGE                  8/01/14
 1236          POWER WASHER TRAILER                       9/25/14
 1237          TOYOTA FORKLIFT                            9/25/14
 1240          NEW COPELAND COMPRESSOR                    11/04/14
 1241          REBUILD INSHELL SIZER                      11/18/14
 1242          INSHELL BLOWER/SCALE                       11/20/14
 1244          HOPPER FOR MEAL GRINDER                    11/25/14
 1245          FABRICATE ROASTER HOPPER AND FRAME         11/05/14
 1246          ELECTRICAL FOR REFRIGERATION EQUP          12/08/14
 1248          METER FOR SEWER WATER                      12/31/14
 1250          MEAL GRINDER INCUS SPAIN                   1/15/15
 1251          OVERHEAD DOORS                             1/15/15
 1252          FLOORING FOR ROASTING ROOM                 1/15/15
 1254          REBUILD INSHELL SIZER                      2/06/15
 1256          2 ROASTING BASKETS                         3/25/15
 1258          BAY 7 REFRIGERATION SYSTEM                 4/10/15
 1259          RETROFIT LIGHTING TO LED                   4/01/15



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 1260          NEW COOLER DOOR BAY 3                         5/11/15
 1261          NEW CONDENSOR BAY 5 UNIT 39                   6/08/15
 1263          STICKTITE BREAKER MODERN ELEC                 7/01/15
 1264          MOISTURE ANALYZER                             8/24/15
 1266          2 ELECTRONIC FLOOR SCALES                     12/15/14
 1267          REBUILD TOTE DUMP FOR SAFETY                  5/19/15
 1268          NEW BUG BLOCKER DOORS                         4/20/15
 1269          REBUILD 3 ROASTING BASKETS                    5/29/15
 1270          NEW EVAPORATOR BAY 5 UNIT 24                  8/07/15
 1274          1 TON HOIST WITH CONTROLLER                   10/30/15
 1275          SATAKE EVOLUTION SORTER                       11/05/15
 1278          MOISTURE ANALYZER                             12/15/15
 1279          METAL STORAGE RACKS                           2/08/16
 1281          NEW COMPRESSOR UNIT 22                        3/15/16
 1282          STAINLESS STEEL BARRELLS                      4/11/16
 1285          NEW COMPRESSOR BAY 3 UNIT 30                  5/01/16
 1286          BOHN 30HP CONDENSOR & 2 EVAPORATORS           5/15/16
 1290          NEW REFRIG COMPRESSOR                         9/06/16
 1291          1 TON HOIST                                   9/19/16
 1293          SUBMERSIBLE PUMP ELECTRICO                    2/13/17
 1294          VACUUM TANK REPLACEMENT                       3/07/17
 1295          CONVEYORS                                     3/08/17
 1296          3 SIZERS MODERN ELEC                          3/24/17
 1297          CHART RECORDERS FOR TEMP TANKS                4/10/17
 1298          STAINLESS STEEL FRAME HOPPER STICKTITE BRKR   5/26/17
 1299          SIZER FEED HOPPERS                            6/06/17
 1300          RARE EARTH MAGNETS                            7/01/17
 1301          1 TON HOIST                                   7/18/17
 1302          FABRICATE HOPPERS AND CONTROLS TEMP TANKS     8/31/17
 1303          4 SAVAGE SHELLERS                             9/30/17
 1304          NEW EVAPORATOR FREEZER 24                     8/28/17
 1305          OIL ROAST SYSTEM UPGRADE                      12/15/17
 1306          CONTINUOS ROASTER CONTROLS                    11/15/17
 1308          CUSTOM HOPPER EXTENSIONS                      12/11/17
 1309          REWORK ELEVATOR WET SHELL                     10/17/17
 1311          2 TOYOTA PALLET JACKS                         12/15/17
 1316          REPLACE INSULATION ON SUCTION LINES           6/01/18
 1320          NEW EVAPORATOR UNIT 41                        7/25/18
 1321          NEW COMPRESSOR                                9/25/18
 1322          REPLACE COMPRESSOR 24                         4/02/19
 1323          REPLACE COMPRESSOR 26                         5/01/19
 1329          MOISTURE ANALYZER                             2/24/20
 1330          2 SATAKE SORTERS                              5/01/20



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 1331          2 USED AMVT SORTERS                        5/12/20
 1333          SATAKE SORTERS                             6/08/20
 1334          REPLACE FREEZER UNIT AND EVAPORATOR        6/22/20
 1335          USED GENIE LIFT                            7/30/20
 1340          MOISTURE ANALYZER INSHELL                  5/30/21
 1343          10 SAVAGE CRACKERS LEASED                  12/02/20
 1346          NEW EVAPORATOR ON UNIT 25                  3/15/22




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                          Schedule 2.1(e) – Licenses and Permits

Beneficial Use Permit – Texas Commission on Environmental Quality

Food Manufacturer’s License - Texas Health and Human Services

Radioactive Material License - Texas Health and Human Services

Industrial/Business Pool, Conventional License - Federal Communications Commission

Industrial Alcohol User Permit – Department of the Treasury, Alcohol and Tobacco Tax and
Trade Bureau

Texas Sales and Use Tax Permit

SQF Certification




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                            Schedule 2.1(g) – Intellectual Property

                                        Domain Names

To be added.



                                         Entity Names

Navarro Pecan Company, Inc.

Pecan Producers International, Inc.

Navarro



                                          Trademarks

To be added.



                                            Patents

None



                                        Phone Numbers

To be added.



                                      Proprietary Processes

None




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                                      Schedule 2.1(h) – Truist Pre-Petition Accounts Receivable
BILLNAME                       DESCRIPTION                                               Bill To Name                            Customer ID Invoice #       Customer PO#   Original Amt   Balance Due Terms Description
ARMADA WAREHOUSE SOLUTIONS     Bill to Name ARMADA WAREHOUSE SOLUTIONS             247     2478 ARMADA WAREHOUSE SOLUTIONS                 598         75708        9718345       69744.4       69744.4 NET 30 DAYS
ARMADA WAREHOUSE SOLUTIONS     Bill to Name ARMADA WAREHOUSE SOLUTIONS             247     2478 ARMADA WAREHOUSE SOLUTIONS                 598         75778       10418101       69744.4       69744.4 NET 30 DAYS
TOTAL                          BILL TO                                                     2478 ARMADA WAREHOUSE SOLUTIONS                                                       139488.8      139488.8
TOTAL                          BILLNAME                                                    2478 ARMADA WAREHOUSE SOLUTIONS                                                       139488.8      139488.8
AUSTINUTS WHOLESALE            Bill to Name AUSTINUTS WHOLESALE             258            2586 AUSTINUTS WHOLESALE                        724         75771         266413           8420          8420 NET 30 DAYS
TOTAL                          BILL TO                                                     2586 AUSTINUTS WHOLESALE                                                                   8420          8420
TOTAL                          BILLNAME                                                    2586 AUSTINUTS WHOLESALE                                                                   8420          8420
BISCOMERICA CORP.              Bill to Name BISCOMERICA CORP.           254                2545 BISCOMERICA CORP.                          675         75755         121922         27645         27645 NET 45 DAYS
TOTAL                          BILL TO                                                     2545 BISCOMERICA CORP.                                                                   27645         27645
TOTAL                          BILLNAME                                                    2545 BISCOMERICA CORP.                                                                   27645         27645
CEDAR FIBER COMPANY INC        Bill to Name CEDAR FIBER COMPANY INC           26              263 CEDAR FIBER COMPANY INC                    95        75355 K8907                   809.2              6NET 10 DAYS
CEDAR FIBER COMPANY INC        Bill to Name CEDAR FIBER COMPANY INC           26              263 CEDAR FIBER COMPANY INC                    95        75739 K8932                   985.2         985.2 NET 10 DAYS
CEDAR FIBER COMPANY INC        Bill to Name CEDAR FIBER COMPANY INC           26              263 CEDAR FIBER COMPANY INC                    95        75740 K8933                   906.8         906.8 NET 10 DAYS
TOTAL                          BILL TO                                                        263 CEDAR FIBER COMPANY INC                                                          2701.2           1886
TOTAL                          BILLNAME                                                       263 CEDAR FIBER COMPANY INC                                                          2701.2           1886
CEREAL BYPRODUCT CO            Bill to Name CEREAL BYPRODUCT CO            49                 495 CEREAL BYPRODUCT CO                      221         75734                      1743.24       1743.24 NET 10 DAYS
TOTAL                          BILL TO                                                        495 CEREAL BYPRODUCT CO                                                             1743.24       1743.24
TOTAL                          BILLNAME                                                       495 CEREAL BYPRODUCT CO                                                             1743.24       1743.24
CONAGRA FOODS FSC AP           Bill to Name CONAGRA FOODS FSC AP             11               118 CONAGRA FOODS FSC AP                          CIA0000194                               0       903.79
TOTAL                          BILL TO                                                        118 CONAGRA FOODS FSC AP                                                                   0       903.79
TOTAL                          BILLNAME                                                       118 CONAGRA FOODS FSC AP                                                                   0       903.79
CRAFTMARK BAKERY LLC           Bill to Name CRAFTMARK BAKERY LLC            240            2403 CRAFTMARK BAKERY LLC                       521         75705 PO66770              30707.5       30707.5 NET 30 DAYS
TOTAL                          BILL TO                                                     2403 CRAFTMARK BAKERY LLC                                                              30707.5       30707.5
TOTAL                          BILLNAME                                                    2403 CRAFTMARK BAKERY LLC                                                              30707.5       30707.5
DAYTON FOODS                   Bill to Name DAYTON FOODS               72                     726 DAYTON FOODS                             707         75776 37 57565          144458.37      144458.37 NET 30 DAYS
TOTAL                          BILL TO                                                        726 DAYTON FOODS                                                                 144458.37      144458.37
TOTAL                          BILLNAME                                                       726 DAYTON FOODS                                                                 144458.37      144458.37
DEAN DAIRY ICE CREAM LLC       Bill to Name DEAN DAIRY ICE CREAM LLC         251           2514 DEAN DAIRY ICE CREAM LLC                   640         74852       41615558    179132.64       25861.11 2% 15 NET 60
DEAN DAIRY ICE CREAM LLC       Bill to Name DEAN DAIRY ICE CREAM LLC         251           2514 DEAN DAIRY ICE CREAM LLC                   640         75786       34830645       34553.6       34553.6 2% 15 NET 60
TOTAL                          BILL TO                                                     2514 DEAN DAIRY ICE CREAM LLC                                                       213686.24        8692.49
TOTAL                          BILLNAME                                                    2514 DEAN DAIRY ICE CREAM LLC                                                       213686.24        8692.49
ETEX FIBER SUPPLY LLC          Bill to Name ETEX FIBER SUPPLY LLC       253                2539 ETEX FIBER SUPPLY LLC                      668         75728                       1689.4        1689.4 NET 10 DAYS
ETEX FIBER SUPPLY LLC          Bill to Name ETEX FIBER SUPPLY LLC       253                2539 ETEX FIBER SUPPLY LLC                      668         75783                       1647.2        1647.2 NET 10 DAYS
TOTAL                          BILL TO                                                     2539 ETEX FIBER SUPPLY LLC                                                               3336.6       3336.6
TOTAL                          BILLNAME                                                    2539 ETEX FIBER SUPPLY LLC                                                               3336.6       3336.6
FERVALUE USA INC               Bill to Name FERVALUE USA INC           257                 2579 FERVALUE USA INC                           717         75737 9330101020 2           23865         23865 NET 45 DAYS
TOTAL                          BILL TO                                                     2579 FERVALUE USA INC                                                                    23865         23865
TOTAL                          BILLNAME                                                    2579 FERVALUE USA INC                                                                    23865         23865
FIELDS PIES                    Bill to Name FIELDS PIES            32                         324 FIELDS PIES                               130        75701 09202022C             220352       220352 NET 60 DAYS
TOTAL                          BILL TO                                                        324 FIELDS PIES                                                                      220352       220352
TOTAL                          BILLNAME                                                       324 FIELDS PIES                                                                      220352       220352
GENERAL MILLS OPERATIONS LLC   Bill to Name GENERAL MILLS OPERATIONS LLC        89            893 GENERAL MILLS OPERATIONS LLC             437         75663       12508077      151852.8      151852.8 NET 90 DAYS
GENERAL MILLS OPERATIONS LLC   Bill to Name GENERAL MILLS OPERATIONS LLC        89            893 GENERAL MILLS OPERATIONS LLC             437         75738       12549629         15446         15446 NET 90 DAYS
GENERAL MILLS OPERATIONS LLC   Bill to Name GENERAL MILLS OPERATIONS LLC        89            893 GENERAL MILLS OPERATIONS LLC             437         75777       12561130      29459.08      29459.08 NET 90 DAYS
TOTAL                          BILL TO                                                        893 GENERAL MILLS OPERATIONS LLC                                                 196757.88      196757.88
TOTAL                          BILLNAME                                                       893 GENERAL MILLS OPERATIONS LLC                                                 196757.88      196757.88
GLOBAL BOTTOMLINE              Bill to Name GLOBAL BOTTOMLINE              16                 160 GLOBAL BOTTOMLINE                          36        75476 PER JOHN              330.08        330.08 NET 30 DAYS
TOTAL                          BILL TO                                                        160 GLOBAL BOTTOMLINE                                                                330.08        330.08
TOTAL                          BILLNAME                                                       160 GLOBAL BOTTOMLINE                                                                330.08        330.08
H.P. HOOD                      Bill to Name H.P. HOOD               58                        584 H.P. HOOD                           1213005          75781         792202       31041.6       31041.6 NET 30 DAYS
TOTAL                          BILL TO                                                        584 H.P. HOOD                                                                       31041.6       31041.6
TOTAL                          BILLNAME                                                       584 H.P. HOOD                                                                       31041.6       31041.6
HARRY AND DAVID CORPORATION    Bill to Name HARRY AND DAVID CORPORATION           62          620 HARRY AND DAVID CORPORATION              304         75753     4500139030            575           575 NET 30 DAYS
TOTAL                          BILL TO                                                        620 HARRY AND DAVID CORPORATION                                                          575           575
TOTAL                          BILLNAME                                                       620 HARRY AND DAVID CORPORATION                                                          575           575
HIGH COUNTRY MERCANTILE INC    Bill to Name HIGH COUNTRY MERCANTILE INC         254        2546 HIGH COUNTRY MERCANTILE INC                676         75743           7474       10679.2       10679.2 NET 30 DAYS
HIGH COUNTRY MERCANTILE INC    Bill to Name HIGH COUNTRY MERCANTILE INC         254        2546 HIGH COUNTRY MERCANTILE INC                676         75767           7475      11366.04      11366.04 NET 30 DAYS
TOTAL                          BILL TO                                                     2546 HIGH COUNTRY MERCANTILE INC                                                      22045.24      22045.24
TOTAL                          BILLNAME                                                    2546 HIGH COUNTRY MERCANTILE INC                                                      22045.24      22045.24
HORMEL FOODS CORPORATION       Bill to Name HORMEL FOODS CORPORATION              256      2567 HORMEL FOODS CORPORATION                    698        75053        4409086        170170            520 NET 60 DAYS
TOTAL                          BILL TO                                                     2567 HORMEL FOODS CORPORATION                                                           170170            520
TOTAL                          BILLNAME                                                    2567 HORMEL FOODS CORPORATION                                                           170170            520
JOSH EARLY CANDIES             Bill to Name JOSH EARLY CANDIES           4                     42 JOSH EARLY CANDIES                    42000          75772           4774       10612.5       10612.5 NET 30 DAYS
TOTAL                          BILL TO                                                         42 JOSH EARLY CANDIES                                                              10612.5       10612.5
TOTAL                          BILLNAME                                                        42 JOSH EARLY CANDIES                                                              10612.5       10612.5
KARS NUTS                      Bill to Name KARS NUTS              206                     2066 KARS NUTS                             2066000          75760 PO0021589              83360         83360 NET 30 DAYS
TOTAL                          BILL TO                                                     2066 KARS NUTS                                                                           83360         83360
TOTAL                          BILLNAME                                                    2066 KARS NUTS                                                                           83360         83360
KELLOGG COMPANY                Bill to Name KELLOGG COMPANY               221              2215 KELLOGG COMPANY                       2215000          75762     4203348374      120484.1      120484.1 NET 45 DAYS
TOTAL                          BILL TO                                                     2215 KELLOGG COMPANY                                                                  120484.1      120484.1
TOTAL                          BILLNAME                                                    2215 KELLOGG COMPANY                                                                  120484.1      120484.1
KELLOGG USA INC NUUS           Bill to Name KELLOGG USA INC NUUS            67                673 KELLOGG USA INC NUUS                      673        74304     4203030918      37151.18            336 NET 45 DAYS
TOTAL                          BILL TO                                                        673 KELLOGG USA INC NUUS                                                           37151.18            336
TOTAL                          BILLNAME                                                       673 KELLOGG USA INC NUUS                                                           37151.18            336
KEMPS LLC V#48062              Bill to Name KEMPS LLC V#48062           58                    583 KEMPS LLC V#48062                         282        75754         732868       93883.2       93883.2 2% 15 NET 60
TOTAL                          BILL TO                                                        583 KEMPS LLC V#48062                                                               93883.2       93883.2
TOTAL                          BILLNAME                                                       583 KEMPS LLC V#48062                                                               93883.2       93883.2
KRAFT HEINZ FOOD COMPANY       Bill to Name KRAFT HEINZ FOOD COMPANY             55           556 KRAFT HEINZ FOOD COMPANY                  556        73224     3562485730        171600       125400 NET 10 DAYS
TOTAL                          BILL TO                                                        556 KRAFT HEINZ FOOD COMPANY                                                         171600       125400
TOTAL                          BILLNAME                                                       556 KRAFT HEINZ FOOD COMPANY                                                         171600       125400
KROGER PROCESSING / PRGX       Bill to Name KROGER PROCESSING / PRGX           85             854 KROGER PROCESSING / PRGX                  420        75442        1156485           3621       251.28 NET 90 DAYS
KROGER PROCESSING / PRGX       Bill to Name KROGER PROCESSING / PRGX           85             854 KROGER PROCESSING / PRGX                  420        75787        1177056        114072        114072 NET 90 DAYS
TOTAL                          BILL TO                                                        854 KROGER PROCESSING / PRGX                                                         117693     113820.72
TOTAL                          BILLNAME                                                       854 KROGER PROCESSING / PRGX                                                         117693     113820.72
LANDSCAPERS PRIDE              Bill to Name LANDSCAPERS PRIDE           250                2503 LANDSCAPERS PRIDE                          630         75748                       1329.9        1329.9 CHK IN ADV.
TOTAL                          BILL TO                                                     2503 LANDSCAPERS PRIDE                                                                   1329.9       1329.9
TOTAL                          BILLNAME                                                    2503 LANDSCAPERS PRIDE                                                                   1329.9       1329.9
LIVING EARTH TECHNOLOGY        Bill to Name LIVING EARTH TECHNOLOGY            62             625 LIVING EARTH TECHNOLOGY                   306        75599                           757           757 NET 10 DAYS




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LIVING EARTH TECHNOLOGY    Bill to Name LIVING EARTH TECHNOLOGY         62          625 LIVING EARTH TECHNOLOGY          306        75608                            811           811 NET 10 DAYS
LIVING EARTH TECHNOLOGY    Bill to Name LIVING EARTH TECHNOLOGY         62          625 LIVING EARTH TECHNOLOGY          306        75623 IS 126983 STKJY          791.4         791.4 NET 10 DAYS
LIVING EARTH TECHNOLOGY    Bill to Name LIVING EARTH TECHNOLOGY         62          625 LIVING EARTH TECHNOLOGY          306        75676 136083 STKJY               770           770 NET 10 DAYS
LIVING EARTH TECHNOLOGY    Bill to Name LIVING EARTH TECHNOLOGY         62          625 LIVING EARTH TECHNOLOGY          306        75774                          746.8         746.8 NET 10 DAYS
TOTAL                      BILL TO                                                  625 LIVING EARTH TECHNOLOGY                                                  3876.2         3876.2
TOTAL                      BILLNAME                                                 625 LIVING EARTH TECHNOLOGY                                                  3876.2         3876.2
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         53765                         655.2         655.2 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         53893                         798.3         798.3 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         53894                           699           699 NET 10 DAYS
BILLNAME                   DESCRIPTION                                           Bill To Name                     Customer ID     Invoice # Customer PO#    Original Amt   Balance Due Terms Description
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         53895                         605.4          605.4 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         54002                         868.2          868.2 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         54802                         678.3          678.3 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         54904                         717.9          717.9 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         54905                         733.8          733.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55017                           678           678 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55200                         679.8          679.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55253                         646.8          646.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55254                         506.4          506.4 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55310                         637.2          637.2 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         55367                           663           663 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56166                         748.5          748.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56167                           648           648 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56246                         763.8          763.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56319                         852.6          852.6 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56413                         743.1          743.1 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56433                         681.9          681.9 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56478                         660.9          660.9 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56479                           693           693 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56886                         694.5          694.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56933                          1153          1153 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         56966                        1087.5        1087.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57013                          1214          1214 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57014                          1215          1215 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57066                        1216.5        1216.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57159                          1209          1209 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57297                          1220          1220 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57727                          1300          1300 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57728                          1133          1133 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         57948                          1146          1146 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58095                          1037          1037 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58133                        1125.5        1125.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58173                           991           991 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58273                        1208.5        1208.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58375                          1227          1227 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58525                        1169.5        1169.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58578                          1150          1150 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         58650                        1018.5        1018.5 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         74992 1998                 1087.65           792.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         75281                         865.8          865.8 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         75287                           936           936 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         75741                        1043.1        1043.1 NET 10 DAYS
LOUISANA REDUCTION         Bill to Name LOUISANA REDUCTION         227            2275 LOUISANA REDUCTION            2275000         75780                         837.9          837.9 NET 10 DAYS
TOTAL                      BILL TO                                                2275 LOUISANA REDUCTION                                                      41645.05        39764.6
TOTAL                      BILLNAME                                               2275 LOUISANA REDUCTION                                                      41645.05        39764.6
MANSFIELD WHSE SVCS        Bill to Name MANSFIELD WHSE SVCS        66               666 MANSFIELD WHSE SVCS           666001        56996                            882           882 NET 10 DAYS
MANSFIELD WHSE SVCS        Bill to Name MANSFIELD WHSE SVCS        66               666 MANSFIELD WHSE SVCS           666001        65473 PER JOHN                   432           432 NET 10 DAYS
MANSFIELD WHSE SVCS        Bill to Name MANSFIELD WHSE SVCS        66               666 MANSFIELD WHSE SVCS           666001        65558 PER JOHN                   216           216 NET 10 DAYS
TOTAL                      BILL TO                                                  666 MANSFIELD WHSE SVCS                                                         1530          1530
TOTAL                      BILLNAME                                                 666 MANSFIELD WHSE SVCS                                                         1530          1530
MOLINA'S MEXICAN           Bill to Name MOLINA'S MEXICAN           154            1545 MOLINA'S MEXICAN              1545000        75757 EMAIL                   206.93        206.93 NET 10 DAYS
TOTAL                      BILL TO                                                1545 MOLINA'S MEXICAN                                                           206.93        206.93
TOTAL                      BILLNAME                                               1545 MOLINA'S MEXICAN                                                           206.93        206.93
NEWELL ATKINSON            Bill to Name NEWELL ATKINSON             50              501 NEWELL ATKINSON                  346         66163                        2204.4       1504.48 NET 10 DAYS
NEWELL ATKINSON            Bill to Name NEWELL ATKINSON             50              501 NEWELL ATKINSON                  346         68344                           750           750 NET 10 DAYS
NEWELL ATKINSON            Bill to Name NEWELL ATKINSON             50              501 NEWELL ATKINSON                         CIA0000179                             0        4207.2
NEWELL ATKINSON            Bill to Name NEWELL ATKINSON             50              501 NEWELL ATKINSON                  346         75566                           531           531 NET 10 DAYS
TOTAL                      BILL TO                                                  501 NEWELL ATKINSON                                                           3485.4       1421.72
TOTAL                      BILLNAME                                                 501 NEWELL ATKINSON                                                           3485.4       1421.72
NORTHERN GOLD FOODS LTD    Bill to Name NORTHERN GOLD FOODS LTD     65              657 NORTHERN GOLD FOODS LTD          657        75785 2672                    33622          33622 NET 30 DAYS
TOTAL                      BILL TO                                                  657 NORTHERN GOLD FOODS LTD                                                   33622          33622
TOTAL                      BILLNAME                                                 657 NORTHERN GOLD FOODS LTD                                                   33622          33622
PECAN DELUXE CANDY CO.     Bill to Name PECAN DELUXE CANDY CO.      10              107 PECAN DELUXE CANDY CO.        107000        68964 118781                  56448          39456 NET 30 DAYS
PECAN DELUXE CANDY CO.     Bill to Name PECAN DELUXE CANDY CO.      10              107 PECAN DELUXE CANDY CO.        107000        74424 141683                  57330          14391 NET 30 DAYS
PECAN DELUXE CANDY CO.     Bill to Name PECAN DELUXE CANDY CO.      10              107 PECAN DELUXE CANDY CO.        107000        75730 149220                69225.9        69225.9 NET 30 DAYS
PECAN DELUXE CANDY CO.     Bill to Name PECAN DELUXE CANDY CO.      10              107 PECAN DELUXE CANDY CO.        107000        75761 149311                  73553          73553 NET 30 DAYS
TOTAL                      BILL TO                                                  107 PECAN DELUXE CANDY CO.                                                 256556.9        88931.9
TOTAL                      BILLNAME                                                 107 PECAN DELUXE CANDY CO.                                                 256556.9        88931.9
PERRY'S ICE CREAM          Bill to Name PERRY'S ICE CREAM          132            1326 PERRY'S ICE CREAM             1326001        75717 27983                 39752.6        39752.6 NET 30 DAYS
TOTAL                      BILL TO                                                1326 PERRY'S ICE CREAM                                                        39752.6        39752.6
TOTAL                      BILLNAME                                               1326 PERRY'S ICE CREAM                                                        39752.6        39752.6
PHILLIPS CANDY HOUSE INC   Bill to Name PHILLIPS CANDY HOUSE INC   250            2506 PHILLIPS CANDY HOUSE INC                 CIA0000201                             0       2435.19
TOTAL                      BILL TO                                                2506 PHILLIPS CANDY HOUSE INC                                                        0       2435.19
TOTAL                      BILLNAME                                               2506 PHILLIPS CANDY HOUSE INC                                                        0       2435.19
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73288                       50684.8        9925.09 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73289                         2830.5        529.04 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73290                       21652.2         4647.2 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73291                       18680.3         4093.2 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73292                       18085.8        3450.41 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        73293                         1278.1          194.5 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        74950 APRIL CONSUM          3415.35        3415.35 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD      Bill to Name PURE AND NATURAL FOOD      249            2493 PURE AND NATURAL FOOD             617        75445 AUGUST LABOR         45980.19       45980.19 DUE ON RECEIPT OF I




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PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75446 SEPTEMBER LA            60183.02        60183.02 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75758 OCTOBER 2022              1419.5          1419.5 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75759 NOVEMBER 202             1666.38         1666.38 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75763 OCTOBER 2022            60940.95        60940.95 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75764 NOVEMBER 202            51463.63        51463.63 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75765 DECEMBER 202            55450.21        55450.21 DUE ON RECEIPT OF I
PURE AND NATURAL FOOD           Bill to Name PURE AND NATURAL FOOD       249          2493 PURE AND NATURAL FOOD                       617          75769 DECEMBER 202             2954.37         2954.37 DUE ON RECEIPT OF I
TOTAL                           BILL TO                                               2493 PURE AND NATURAL FOOD                                                                  396685.3       306313.04
TOTAL                           BILLNAME                                              2493 PURE AND NATURAL FOOD                                                                  396685.3       306313.04
QUEST NUTRITION                 Bill to Name QUEST NUTRITION             242          2429 QUEST NUTRITION                             545          75768 PON0037292 1              187.88          187.88 NET 30 DAYS
TOTAL                           BILL TO                                               2429 QUEST NUTRITION                                                                          187.88          187.88
TOTAL                           BILLNAME                                              2429 QUEST NUTRITION                                                                          187.88          187.88
RUSSELL STOVER CANDIES          Bill to Name RUSSELL STOVER CANDIES        55          553 RUSSELL STOVER CANDIES                   138003          75727 5400008968              172646.4        172646.4 NET 30 DAYS
TOTAL                           BILL TO                                                553 RUSSELL STOVER CANDIES                                                                 172646.4        172646.4
TOTAL                           BILLNAME                                               553 RUSSELL STOVER CANDIES                                                                 172646.4        172646.4


BILLNAME                        DESCRIPTION                                          Bill To Name                             Customer ID    Invoice #     Customer PO#       Original Amt    Balance Due Terms Description
SANDERS CANDY LLC               Bill to Name SANDERS CANDY LLC           251           2517 SANDERS CANDY LLC                                CIA0000168                                   0             150
SANDERS CANDY LLC               Bill to Name SANDERS CANDY LLC           251           2517 SANDERS CANDY LLC                          643           75704         220389            29661           29661 NET 30 DAYS
TOTAL                           BILL TO                                                2517 SANDERS CANDY LLC                                                                        29661           29511
TOTAL                           BILLNAME                                               2517 SANDERS CANDY LLC                                                                        29661           29511
SCHULZE & BURCH BISCUIT CO.     Bill to Name SCHULZE & BURCH BISCUIT CO.     251       2510 SCHULZE & BURCH BISCUIT CO.                636          75736 I 059316                  103520          103520 NET 45 DAYS
TOTAL                           BILL TO                                                2510 SCHULZE & BURCH BISCUIT CO.                                                             103520          103520
TOTAL                           BILLNAME                                               2510 SCHULZE & BURCH BISCUIT CO.                                                             103520          103520
SITEONE LANDSCAPE SUPPLY,LLC    Bill to Name SITEONE LANDSCAPE SUPPLY,LLC      73         738 SITEONE LANDSCAPE SUPPLY,LLC             371          75752         39099414          1003.2          1003.2 NET 10 DAYS
SITEONE LANDSCAPE SUPPLY,LLC    Bill to Name SITEONE LANDSCAPE SUPPLY,LLC      73         738 SITEONE LANDSCAPE SUPPLY,LLC             371          75775         39125201          1073.8          1073.8 NET 10 DAYS
TOTAL                           BILL TO                                                   738 SITEONE LANDSCAPE SUPPLY,LLC                                                             2077            2077
TOTAL                           BILLNAME                                                  738 SITEONE LANDSCAPE SUPPLY,LLC                                                             2077            2077
SNRA COMMODITIES                Bill to Name SNRA COMMODITIES             82              827 SNRA COMMODITIES                         411          71457             51520          16464           16464 NET 30 DAYS
TOTAL                           BILL TO                                                   827 SNRA COMMODITIES                                                                       16464           16464
TOTAL                           BILLNAME                                                  827 SNRA COMMODITIES                                                                       16464           16464
SNRA COMMODITIES INC            Bill to Name SNRA COMMODITIES INC           249        2498 SNRA COMMODITIES INC                       622          69396             52119          16800           16800 NET 30 DAYS
TOTAL                           BILL TO                                                2498 SNRA COMMODITIES INC                                                                     16800           16800
TOTAL                           BILLNAME                                               2498 SNRA COMMODITIES INC                                                                     16800           16800
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          73987            176672          68040           59535 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74048            176700          45360           45360 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74081            176727          37800           37800 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74154            176824          30240           30240 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74184            176886          60480           60480 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74215            177006          60480           60480 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74243            177039          22680           22680 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74252            177046          22680           22680 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74318            177149          22680           22680 NET 30 DAYS
TABLE TALK INC.                 Bill to Name TABLE TALK INC.         160               1606 TABLE TALK INC.                        1606000          74508            177295          15120           15120 NET 30 DAYS
TOTAL                           BILL TO                                                1606 TABLE TALK INC.                                                                         385560          377055
TOTAL                           BILLNAME                                               1606 TABLE TALK INC.                                                                         385560          377055
TEXAS STAR NUT & FOOD CO        Bill to Name TEXAS STAR NUT & FOOD CO         223      2235 TEXAS STAR NUT & FOOD CO               2235000          75643 PO22 1039                  31600           31600 NET 60 DAYS
TEXAS STAR NUT & FOOD CO        Bill to Name TEXAS STAR NUT & FOOD CO         223      2235 TEXAS STAR NUT & FOOD CO               2235000          75742 PO22 1039                  31600           31600 NET 60 DAYS
TOTAL                           BILL TO                                                2235 TEXAS STAR NUT & FOOD CO                                                                 63200           63200
TOTAL                           BILLNAME                                               2235 TEXAS STAR NUT & FOOD CO                                                                 63200           63200
THE SYGMA NETWORK CORP OFFICE   Bill to Name THE SYGMA NETWORK CORP OFFICE 42             428 THE SYGMA NETWORK CORP OFFICE            187          75675 15545C44                 18961.2         18961.2 NET 30 DAYS
THE SYGMA NETWORK CORP OFFICE   Bill to Name THE SYGMA NETWORK CORP OFFICE 42             428 THE SYGMA NETWORK CORP OFFICE            187          75732 17463C44                 18961.2         18961.2 NET 30 DAYS
TOTAL                           BILL TO                                                   428 THE SYGMA NETWORK CORP OFFICE                                                        37922.4         37922.4
TOTAL                           BILLNAME                                                  428 THE SYGMA NETWORK CORP OFFICE                                                        37922.4         37922.4
TUCKER INTERNATIONAL INC        Bill to Name TUCKER INTERNATIONAL INC         253      2533 TUCKER INTERNATIONAL INC                   662          75698             14150       208696.5        208696.5 NET 30 DAYS
TOTAL                           BILL TO                                                2533 TUCKER INTERNATIONAL INC                                                              208696.5        208696.5
TOTAL                           BILLNAME                                               2533 TUCKER INTERNATIONAL INC                                                              208696.5        208696.5
U.S. PECAN TRADING CO LTD       Bill to Name U.S. PECAN TRADING CO LTD      226        2268 U.S. PECAN TRADING CO LTD              2268000          54111                           765.44          158.68 NET 10 DAYS
U.S. PECAN TRADING CO LTD       Bill to Name U.S. PECAN TRADING CO LTD      226        2268 U.S. PECAN TRADING CO LTD              2268000          56209                               510             510 NET 10 DAYS
TOTAL                           BILL TO                                                2268 U.S. PECAN TRADING CO LTD                                                              1275.44           668.68
TOTAL                           BILLNAME                                               2268 U.S. PECAN TRADING CO LTD                                                              1275.44           668.68
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75527       4505037178          194040          194040 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75563       4505091607          194040          194040 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75578       4505091608          194040          194040 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75625       4505121045          121275          121275 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75731       4505138249          194040          194040 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75779       4505155240           89817           89817 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           222     2228 UNILEVER NORTH AMERICAN                2228000          75784       4505171502          161700          161700 NET 90 DAYS
TOTAL                           BILL TO                                                2228 UNILEVER NORTH AMERICAN                                                               1148952         1148952
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75307       4505027947           43024              688 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75537       4505103688           48363           48363 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75538       4505103691         13141.8         13141.8 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75543       4505091468           42336           42336 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75636       4505130173         33868.8         33868.8 NET 90 DAYS
UNILEVER NORTH AMERICAN         Bill to Name UNILEVER NORTH AMERICAN           232     2326 UNILEVER NORTH AMERICAN                2326000          75788       4505186879           42336           42336 NET 90 DAYS
TOTAL                           BILL TO                                                2326 UNILEVER NORTH AMERICAN                                                               223069.6        179357.6
TOTAL                           BILLNAME                                               2228 UNILEVER NORTH AMERICAN                                                              1372021.6       1328309.6
VM PALLETS BUY & SALE           Bill to Name VM PALLETS BUY & SALE         257         2574 VM PALLETS BUY & SALE                      712          75691 N/A                       267.75          267.75 CHK IN ADV.
TOTAL                           BILL TO                                                2574 VM PALLETS BUY & SALE                                                                    267.75          267.75
TOTAL                           BILLNAME                                               2574 VM PALLETS BUY & SALE                                                                    267.75          267.75
WINFREY'S FUDGE                 Bill to Name WINFREY'S FUDGE           233             2337 WINFREY'S FUDGE                        2337000          75773 PER EMAILS                 12503           12503 NET 10 DAYS
TOTAL                           BILL TO                                                2337 WINFREY'S FUDGE                                                                          12503           12503
TOTAL                           BILLNAME                                               2337 WINFREY'S FUDGE                                                                          12503           12503
TOTAL                           REPORT                                                 2478 ARMADA WAREHOUSE SOLUTIONS                                                          5073600.98        4037645




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BILLNAME                       DESCRIPTION                                           Bill To Name                            Customer I Invoice #     Customer PO#   Original Amt Balance Due     Terms Description
APPLE VALLEY FOODS             Bill to Name APPLE VALLEY FOODS             64             648 APPLE VALLEY FOODS                    331         75279 001965 00            236352           24.04 WIRE IN ADVANCE
TOTAL                          BILL TO                                                    648 APPLE VALLEY FOODS                                                           236352           24.04
TOTAL                          BILLNAME                                                   648 APPLE VALLEY FOODS                                                           236352           24.04
BARGUES AGRO INDUSTRIES*****   Bill to Name BARGUES AGRO INDUSTRIES***** 160            1603 BARGUES AGRO INDUSTRIES*****      1603000        75718                        205254         205254 CASH AGAINST DOCUME
TOTAL                          BILL TO                                                  1603 BARGUES AGRO INDUSTRIES*****                                                  205254         205254
TOTAL                          BILLNAME                                                 1603 BARGUES AGRO INDUSTRIES*****                                                  205254         205254
DELINUTS BV ****               Bill to Name DELINUTS BV ****             201            2015 DELINUTS BV ****                  2015000        75782 IOR2202879             202500         202500 WIRE TRANSFER UPON E
TOTAL                          BILL TO                                                  2015 DELINUTS BV ****                                                              202500         202500
TOTAL                          BILLNAME                                                 2015 DELINUTS BV ****                                                              202500         202500
INTERSNACK PROCUREMENT BV***   Bill to Name INTERSNACK PROCUREMENT BV***           2      294 INTERSNACK PROCUREMENT BV***          111       75596   4075802001           237330         237330 NET 60 DAYS
TOTAL                          BILL TO                                                    294 INTERSNACK PROCUREMENT BV***                                                 237330         237330
TOTAL                          BILLNAME                                                   294 INTERSNACK PROCUREMENT BV***                                                 237330         237330
KING NUT & RAAPHORST BV*****   Bill to Name KING NUT & RAAPHORST BV***** 123            1230 KING NUT & RAAPHORST BV*****           497       75751 B2200876 1             202500         202500 CASH AGAINST DOCUME
TOTAL                          BILL TO                                                  1230 KING NUT & RAAPHORST BV*****                                                  202500         202500
TOTAL                          BILLNAME                                                 1230 KING NUT & RAAPHORST BV*****                                                  202500         202500
OILSEED S.R.O                  Bill to Name OILSEED S.R.O             258               2582 OILSEED S.R.O                          719       75710                        226800         204145 SPECIAL TERMS
TOTAL                          BILL TO                                                  2582 OILSEED S.R.O                                                                 226800         204145
TOTAL                          BILLNAME                                                 2582 OILSEED S.R.O                                                                 226800         204145
SHEKARCHI LTD. ******          Bill to Name SHEKARCHI LTD. ******           125         1254 SHEKARCHI LTD. ******             1254000        74981 TS022313 1             145200          27369 CASH AGAINST DOCUME
TOTAL                          BILL TO                                                  1254 SHEKARCHI LTD. ******                                                         145200          27369
TOTAL                          BILLNAME                                                 1254 SHEKARCHI LTD. ******                                                         145200          27369
TOTALLY NUTS & MORE INC**      Bill to Name TOTALLY NUTS & MORE INC**           18        180 TOTALLY NUTS & MORE INC**              49       75340 005950 2                 70616         704.76 NET 30 DAYS
TOTAL                          BILL TO                                                    180 TOTALLY NUTS & MORE INC**                                                      70616         704.76
TOTAL                          BILLNAME                                                   180 TOTALLY NUTS & MORE INC**                                                      70616         704.76
TOTAL                          REPORT                                                     648 APPLE VALLEY FOODS                                                          1526552     1079778.72




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                               Schedule 2.1(j) – Prepaid Assets

Ambris (Lloyds of London)

Insurance Policy: Storm Buyback Policy
Amount Prepaid: $74,178.88
Coverage for period: 1/1/2023 - 12/31/2023

McGill (Lloyds of London)

Insurance Policy: Stock Policy
Amount Prepaid: $174,394.00
Coverage for period: 1/1/2023 - 12/31/2023

Bailey Insurance and Risk Management Inc.

Address: 1201 Washington Ave
         Waco, TX 76701

Insurance Policy: Product Recall Insurance
Amount Prepaid: $13,001.96
Coverage for period: 1/1/2023 - 12/31/2023

Evolution Insurance Partners

Address: PO Box 310508
         New Braunfels, TX 78131

Insurance Policy: Directors and Officers Policy
Amount Prepaid: $21,055.00
Coverage for period: 1/1/2023 - 12/31/2023




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                         Schedule 2.1(l) – Real Property




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               Schedule 2.4(k) – Truist Non-Purchased Accounts Receivable

None.




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                       Schedule 4.1(b) – Seller Business Jurisdictions

State of Texas

County of Navarro

2131 East Highway 31, Corsicana, Texas 75109

Debtor is also registered to do business in Minnesota and New Jersey




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                 Schedule 4.1(c) – Seller’s Corporate Organizational Chart

Navarro Pecan Company, Inc. is owned by:

       Estate of George Martin, (49%)

       Collin Street Bakery (49%)

       Estate of Jasper B. Sanfilippo (2%).


Pecan Producers International, Inc. is a wholly-owned subsidiary of Seller.




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                              Schedule 4.3 – Seller’s Consents

APA transactions may require consents by governmental entities or may require Buyer to seek a
new permit or license, of which Buyer is aware.




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                            Schedule 4.4 – Compliance with Law

APA transactions may require consents by governmental entities or may require Buyer to seek a
new permit or license, of which Buyer is aware.




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                        Schedule 4.8 – Material Contracts

 Counterparty Name      Counterparty Address                Description of Contract/Lease
 3M Partners            c/o Mark Franks, PO Box 147,        Apartment Lease
                        Corsicana, TX 75151-0147
 AT&T                    P.O. BOX 5001, CAROL STREAM,       Utilities - Phones
                         IL 60197-5001
 AT&T                    P.O. BOX 5014, CAROL STREAM,       Agreement re Fire Alarms
                         IL 60197-5014
 A. L. SCHUTZMAN         N21 W23560 RIDGEVIEW,              FANCY JR. MAMMOTH
                         PARKWAY WEST, WAUKESHA,            PECAN HALVES
                         WI 53188
 A. L. SCHUTZMAN         N21 W23560 RIDGEVIEW,              FANCY JUMBO PECAN
                         PARKWAY WEST, WAUKESHA,            HALVES
                         WI 53188
 AETNA                   151 Farmington Ave, Hartford, CT   Employee Health Insurance
                         06156
 AFLAC                  ATTN: REMITTANCE PROC SVCS,         Disability/Supplemental Benefits
                        1932 WYNNTON ROAD,
                        COLUMBUS, GA 31999-0001
 ALBANESE               5441 E. LINCOLN HWY.,               FANCY JR. MAMMOTH
 CONFECTIONARY          MERRILLVILLE, IN 46410              PECAN HALVES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY MEDIUM PECAN
 CONFECTIONARY           MERRILLVILLE, IN 46410             PIECES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY LARGE PECAN PIECES
 CONFECTIONARY           MERRILLVILLE, IN 46410
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY JR. MAMMOTH
 CONFECTIONARY           MERRILLVILLE, IN 46410             PECAN HALVES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY TOPPER PECAN
 CONFECTIONARY           MERRILLVILLE, IN 46410             HALVES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY MEDIUM PECAN
 CONFECTIONARY           MERRILLVILLE, IN 46410             PIECES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY SMALL PECAN
 CONFECTIONARY           MERRILLVILLE, IN 46410             PIECES
 ALBANESE                5441 E. LINCOLN HWY.,              FANCY LARGE PECAN PIECES
 CONFECTIONARY           MERRILLVILLE, IN 46410
 AMERIFLEX              P.O. BOX 871655, KANSAS CITY,       COBRA Health
                        MO 64187-1655
 APPLE VALLEY FOODS     P.O. BOX 516, KENTVILLE, NS         FANCY TOPPER PECAN
                        B4N 3X3                             HALVES
 APPLE VALLEY FOODS     P.O. BOX 516, KENTVILLE, NS         FANCY TOPPER PECAN
                        B4N 3X3                             HALVES
 APPLE VALLEY FOODS     P.O. BOX 516, KENTVILLE, NS         FANCY MEDIUM PECAN
                        B4N 3X3                             PIECES




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 APPLE VALLEY FOODS      P.O. BOX 516, KENTVILLE, NS        FANCY TOPPER PECAN
                         B4N 3X3                            HALVES
 ASPIRE BAKERIES LLC     6500 OVERLAKE PLACE,               FANCY MEDIUM PECAN
                         NEWARK, CA 94560                   PIECES
 ASPIRE BAKERIES LLC     6500 OVERLAKE PLACE,               FANCY LARGE PECAN PIECES
                         NEWARK, CA 94560
 ATMOS ENERGY            P.O. Box 790311, Saint Louis, MO   Utilities - Gas
                         63179-0311
 BEST FOOD COMPANY       P.O. BOX 10602, DUBAI, UAE         FANCY MAMMOTH PECAN
                                                            HALVES
 BEST FOOD COMPANY       P.O. BOX 10602, DUBAI, UAE         FANCY MAMMOTH PECAN
                                                            HALVES
 BILL MILLER BAR-B-QUE   301 SOUTH FLORES STREET, SAN       FANCY LARGE PECAN PIECES
                         ANTONIO, TX 78204
 C.J. DANNEMILLER        5300 HAMETOWN ROAD,                FANCY JR. MAMMOTH
 COMPANY                 NORTON, OH 44203                   PECAN HALVES
 C.J. DANNEMILLER        5300 HAMETOWN ROAD,                FANCY MEDIUM PECAN
 COMPANY                 NORTON, OH 44203                   PIECES
 CAPITOL FOODS CO LLC    13930 MICA STREET, SANTA FE        FANCY MEDIUM PECAN PCS
                         SPRINGS, CA 90670                  ROASTED
 CHICAGO RABBINICAL      COUNCIL (CRC), 2701 W.             Agreement re Kosher Certification
                         HOWARD STREET, CHICAGO, IL
                         60645
 COMPUTHINK              151 E. 22ND. STREET, LOMBARD,      Document Management Software
                         IL 60148
 CONAGRA FOODS FSC AP    6 CONAGRA DRIVE, BLDG 6,           FANCY X-LARGE PECAN
                         OMAHA, NE 68102                    PIECES RST
 CONAGRA FOODS FSC AP    6 CONAGRA DRIVE, BLDG 6,           FANCY SMALL PECAN
                         OMAHA, NE 68102                    PIECES
 CREATIVE SNACKS CO      4165 MENDENHALL OAKS PKWY,         FANCY JR. MAMMOTH
                         INDIANAPOLIS, IN 46241             PECAN HALVES
 CREATIVE SNACKS CO      4165 MENDENHALL OAKS PKWY,         FANCY JR. MAMMOTH
                         INDIANAPOLIS, IN 46241             PECAN HALVES DRNS
 DELINUTS BV             PO BOX 8100, 6710 AC EDE (NL)      FANCY JR. MAMMOTH
                                                            PECAN HALVES
 DUTCH VALLEY FOODS      7615 LANCASTER AVE,                FANCY JR. MAMMOTH
                         MYERSTOWN, PA 17067                PECAN HALVES
 DUTCH VALLEY FOODS      7615 LANCASTER AVE,                FANCY JR. MAMMOTH
                         MYERSTOWN, PA 17067                PECAN HALVES
 DUTCH VALLEY FOODS      7615 LANCASTER AVE,                FANCY MEDIUM PECAN
                         MYERSTOWN, PA 17067                PIECES
 DUTCH VALLEY FOODS      7615 LANCASTER AVE,                FANCY MEDIUM PECAN
                         MYERSTOWN, PA 17067                PIECES



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 DUTCH VALLEY FOODS       7615 LANCASTER AVE,             FCY PECAN MEAL
                          MYERSTOWN, PA 17067
 DUTCH VALLEY FOODS       7615 LANCASTER AVE,             FCY PECAN MEAL
                          MYERSTOWN, PA 17067
 EULER HERMES             C/O FINANCE DEPT., 800 RED      CUSTOMER CREDIT INS
                          BROOK BLVD., OWINGS MILLS,
                          MD 21117
 FANNIE MAY CONFECTIONS   5353 LAUBY ROAD, NORTH          FANCY SM/MED PECAN
                          CANTON, OH 44720                PIECES
 FERRARA CANDY            404 W HARRISON ST, SUITE 650,   FANCY SMALL PECAN
 COMPANY                  CHICAGO, IL 60607               PIECES
 FERVALUE USA INC         7 SYLVAN WAY, PARSIPANY, NJ     FANCY MED/LRG PECAN
                          07054                           PIECES
 FERVALUE USA INC         7 SYLVAN WAY, PARSIPANY, NJ     FANCY SMALL PECAN
                          07054                           PIECES
 FIELDS PIES              P.O. BOX 7, PAULS VALLEY, OK    FANCY TOPPER HLVS/MED
                          73075                           PCS BLEND
 FIELDS PIES              P.O. BOX 7, PAULS VALLEY, OK    FANCY TOPPER HLVS/MED
                          73075                           PCS BLEND
 FIELDS PIES              P.O. BOX 7, PAULS VALLEY, OK    FANCY TOPPER HLVS/MED
                          73075                           PCS BLEND
 FOCUS BRANDS             5620 GLENRIDGE DR NE,           FANCY MEDIUM PECAN PCS
                          ATLANTA, GA 30342               ROASTED
 FOCUS BRANDS             5620 GLENRIDGE DR NE,           FANCY MEDIUM PECAN PCS
                          ATLANTA, GA 30342               ROASTED
 GENERAL MILLS            PO BOX 59145, MINNEAPOLIS, MN   STYLE 6 MACADMAIA
 OPERATIONS LLC           55459-0145
 GENERAL MILLS            PO BOX 59145, MINNEAPOLIS, MN   FANCY MEDIUM PECAN
 OPERATIONS LLC           55459-0145                      PIECES
 GENERAL MILLS            PO BOX 59145, MINNEAPOLIS, MN   FANCY SMALL PECAN
 OPERATIONS LLC           55459-0145                      PIECES
 GLOBAL BOTTOMLINE        PO BOX 7004, GRANBURY, TX       FCY PECAN MEAL
                          76049
 GLOBAL BOTTOMLINE        PO BOX 7004, GRANBURY, TX       FANCY MIDGET PECAN
                          76049                           PIECES
 H.P. HOOD                6 KIMBALL LANE, LYNNFIELD,      CHOICE MEDIUM PECAN
                          MA 01940                        PIECES RST
 HORMEL FOODS             P.O. BOX 8589, ST LOUIS, MO     FANCY EX-LRG/JUMBO
 CORPORATION              63126                           PECAN HALVES
 IDV SAFESITE             237 EAST MAIN STREET,           Offsite Data Backup Agreement
                          WACONIA, MN 55387
 INTERNATIONAL DAIRY      P.O. BOX 39286, MINNEAPOLIS,    FANCY LARGE PECAN PIECES
 QUEEN                    MN 55439                        B/R/S



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 INTERSNACK               HAVENSTRAAT 62, AG               FANCY JR. MAMMOTH
 PROCUREMENT BV           DOETINCHEM, 7005                 PECAN HALVES
 JOHN DEERE FINANCIAL     P.O. BOX 650215, DALLAS, TX
                          75265-0215
 KARS NUTS                1200 E 14 MILE ROAD, MADISON     FANCY EX-LARGE PECAN
                          HEIGHTS, MI 48071                HALVES
 KARS NUTS                1200 E 14 MILE ROAD, MADISON     FANCY EX-LARGE PECAN
                          HEIGHTS, MI 48071                HALVES
 KELLOGG COMPANY          GBS CENTER, PO BOX 8881011,      FANCY LARGE PECAN
                          GRAND RAPIDS, MI 49588           HALVES
 KELLOGG COMPANY          GBS CENTER, PO BOX 8881011,      FANCY JR. MAMMOTH
                          GRAND RAPIDS, MI 49588           PECAN HALVES
 KIND HEALTHY SNACKS      P.O. BOX 705, MIDTOWN            FANCY LARGE PECAN PIECES
                          STATION, NY, NY 10018
 KING NUTS&RAAPHORST      SPANJEWEG 4, 2411 PX             FANCY JR. MAMMOTH
 BV                       BODEGRAVE (NL)                   PECAN HALVES
 KING NUTS&RAAPHORST      SPANJEWEG 4, 2411 PX             FANCY JR. MAMMOTH
 BV                       BODEGRAVE (NL)                   PECAN HALVES
 LEON'S CANDY             138 SECOND AVE NORTH #102,       FANCY TOPPER PECAN
                          NASHVILLE, TN 37201              HALVES
 METLIFE                  P.O. BOX 804466, KANSAS CITY,    Dental, Vision, Term Life, and
                          MO 64180-4466                    Disability
 NATIONWIDE               PO Box 856824, Minneapolis, MN   BUILDING
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   BUSINESS PERSONAL
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   MACHINERY, EQUIPMENT
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   ACCOUNTS RECEIVABLE
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   BUSINESS INCOME
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   AUTO LIAB
 AGRIBUSINESS INSURANCE   55485-6824
 NATIONWIDE               PO Box 856824, Minneapolis, MN   GENERAL LIAB
 AGRIBUSINESS INSURANCE   55485-6824
 NIDA TRADING CORP        P.O. BOX 318, WOODSTOCK, IL      FANCY TOPPER PECAN
                          60098                            HALVES
 NUTTOS PEANUT &          3807 SENECA STREET, WEST         FANCY JR. MAMMOTH
 POPCORN                  SENECA, NY 14224                 PECAN HALVES
 NUTTOS PEANUT &          3807 SENECA STREET, WEST         FANCY TOPPER PECAN
 POPCORN                  SENECA, NY 14224                 HALVES




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 NUTTOS PEANUT &          3807 SENECA STREET, WEST               FANCY MEDIUM PECAN
 POPCORN                  SENECA, NY 14224                       PIECES
 PANERA BREAD             1600 SOUTH BENTWOOD BLVD.,             FANCY LARGE PECAN PIECES
                          ST LOUIS, MO 63144                     R/NS
 PB&H BENEFITS LLC        401 WEST HIGHTWAY 6, P.O. BOX          HRA/Section 125 Plan
                          20725, WACO, TX 76702-0725
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          FANCY MIDGET PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE LARGE PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE MEDIUM PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE SMALL PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE LARGE PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE X-LARGE PECAN
                          TX 75212-6308                          PIECES
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE MEDIUM PECAN
                          TX 75212-6308                          PIECES RST
 PECAN DELUXE CANDY CO.   2570 LONE STAR DRIVE, DALLAS,          CHOICE MEDIUM PECAN
                          TX 75212-6308                          PIECES DR
 PECAN GROVE MARKETING    2310 NORTH HENDERSON AVE,              FANCY TOPPER PECAN
 LLC                      DALLAS, TX 75206                       HALVES
 PERRY'S ICE CREAM        ONE ICE CREAM PLAZA, AKRON,            CHOICE LARGE PECAN
                          NY 14001-0328                          PIECES BRS
 QUALITY BAKERY           14330 INTERDRIVE WEST,                 FANCY MIDGET PECAN
 PRODUCTS INC             HOUSTON, TX 77032                      PIECES
 RASC MANUFACTURING AP    P.O. BOX 305255, NASHVILLE, TN         FANCY MIDGET PECAN
                          37230                                  PIECES
 RELIANT ENERGY           P.O. BOX 120954, DALLAS, TX            Utilities - Electricity
                          75312-0954
 RUSSELL STOVER CANDIES   4900 OAK STREET, KANSAS CITY,          FANCY SMALL PECAN
                          MO 64112                               PIECES
 SANDERS CANDY LLC        23770 HALL ROAD (M59),                 FANCY SM/MED PECAN
                          CLINTON TOWNSHIP, MI 48036             PIECES DRY ROASTED
 SIMPLY GOOD FOODS USA    1225 17TH ST SUITE 1000,               FANCY SMALL PECAN
                          DENVER, CO 80202                       PIECES
 SOUTHEASTERN EMPLOYEE    4837 Carolina Beach Road, Suite 112,   401k Plan
 BENEFIT SERVICES         Wilmington, NC 28412
 STEWARTS PROCESSING      PO BOX 435, SARATOGA                   FANCY EX-LARGE PECAN
                          SPRINGS, NY 12866                      HALVES B/R/S




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 STROUD SECURITY         P.O. BOX 20157, WACO, TX 76702-       Alarm Service Contract
 SYSTEMS LP              0157
 SWEET STREET DESSERTS   722 HEISTERS LANE, READING,           FANCY MEDIUM PECAN
                         PA 19612                              HALVES
 SWEET STREET DESSERTS   722 HEISTERS LANE, READING,           FANCY JUMBO PECAN
                         PA 19612                              HALVES
 SWEET STREET DESSERTS   722 HEISTERS LANE, READING,           FANCY MEDIUM PECAN
                         PA 19612                              PIECES
 SWISS RE CORP SOL.      -                                     PRODUCT RECALL


 T H FOODS INC.          2134 HARLEM RD, LOVES PARK,           FCY PECAN MEAL
                         IL 61111
 TABLE TALK INC.         120 WASHINGTON, WORCESTER,            FANCY TOPPER
                         MA 01610                              HLVS/SM/MED PCS BLEND
 TABLE TALK INC.         120 WASHINGTON, WORCESTER,            FANCY SML/LRG MIDGET
                         MA 01610                              PCS BLEND
 TEXAS MUTUAL            PO Box 841843, Dallas, TX 75284       WORKERS COMP
 INSURANCE
 THE CINCINNATI          PO Box 145496, Cincinnati, OH 45250   BOILER AND MACHINERY
 INSURANCE CO.
 TOTALLY NUTS & MORE     2000 PEEL STE. 610, MONTREAL,         FANCY MEDIUM PECAN
 INC                     QUEBEC H3A 2W5                        PIECES
 TOYOTA TSUSHO FOODS     C/O TOYOTA TSUISHO AMERICA,           FANCY JR. MAMMOTH
 CORP                    1000 BROADWAY SUITE 405,              PECAN HALVES
                         OAKLAND, CA 94607
 TRAVELERS PROPERTY      PO Box 660317, Dallas, TX 75266-      ERISA FIDELITYBONDS
 CASUALTY                0317
 TRAVELERS PROPERTY      PO Box 660317, Dallas, TX 75266-      FRAUD AND THEFT
 CASUALTY                0317
 TRAVELERS PROPERTY      PO Box 660317, Dallas, TX 75266-      FOREIGN GENERAL LIAB
 CASUALTY                0317
 TRAVELERS PROPERTY      PO Box 660317, Dallas, TX 75266-      UMBRELLA LIAB POLICY
 CASUALTY                0317
 TREEHOUSE PRIVATE       PO BOX 19043, GREEN BAY, WI           FANCY MEDIUM PECAN PCS
 BRANDS                  54307                                 ROASTED
 TROPHY NUT              320 N. SECOND STREET, TIPP            FANCY JR. MAMMOTH
                         CITY OH, 45371                        PECAN HALVES
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,        FCY TOPPER MED/LRG
                         ENGLEWOOD CLIFFS, NJ 07632            PECAN HALVES
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,        FANCY JR. MAMMOTH
                         ENGLEWOOD CLIFFS, NJ 07632            PECAN HALVES
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,        FANCY X-LARGE PECAN
                         ENGLEWOOD CLIFFS, NJ 07632            PIECES BRS



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 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,   FCY TOPPER MED/LRG
                         ENGLEWOOD CLIFFS, NJ 07632       PECAN HALVES & PCS
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,   FANCY JR. MAMMOTH
                         ENGLEWOOD CLIFFS, NJ 07632       PECAN HALVES
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,   FANCY X-LARGE PECAN
                         ENGLEWOOD CLIFFS, NJ 07632       PIECES BRS
 UNILEVER ASCC AG        AAA674047626, 700 SYLVAN AVE.,   FANCY LARGE PECAN PIECES
                         ENGLEWOOD CLIFFS, NJ 07632
 V BESANA SPA            VIA FERROVIA 210, 80040 SAN      FANCY JR. MAMMOTH
                         GENNARO VESUVIANO, NAPLES        PECAN HALVES




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                       Schedule 4.9 – Seller’s Employee Benefit Plans

Aetna – Health

Aflac – Short Term Disability

Aflac – Long Term Disability

Ameriflex – COBRA Health

Metlife – Accidental Death and Dismemberment

Metlife – Dental and Vision

Metlife – Life Insurance

Metlife – Long Term Disability

Navarro Pecan Company, Inc.- Health Reimbursement Account

PB&H Benefits LLC - Health Reimbursement Account/Section 125 Plan

Southeastern Employee Benefit Services - 401k Plan

Texas Mutual Insurance – Workers Compensation Insurance

Voya Financial – Employee 401K Plan




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